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                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN

TODD NISHON, JAMES CAPPS,                     Case No.
JOSEPH VAILLANCOURT, HARRY
HILBURG, RAYMOND DYNNE III, and               JURY TRIAL DEMANDED
WILLIAM SIMMONS, individually and
on behalf of all others similarly situated,

                                Plaintiffs,

                    v.

FORD MOTOR COMPANY, a
Delaware Limited Liability Company,

                              Defendant.


                         CLASS ACTION COMPLAINT
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      Plaintiffs file this lawsuit individually and on behalf of proposed nationwide

and statewide classes. Plaintiffs allege the following based on personal knowledge

as to their own acts and experiences and, as to all other matters, based on the

investigation of counsel:

                              I.    INTRODUCTION

      1.     Ford Motor Company (“Ford”) sold Ford Escapes, Ford Mavericks,

and Lincoln Corsairs equipped with faulty engines that can suffer a “block breach,”

which is Ford’s euphemistic language for the engine seizing and shattering the

engine rods and connecting bearings, which can be propelled through the engine

block itself or the oil pan. In layman’s terms, this is a blown engine. The “block

breach” or blown engine, however named, causes the engine to stall and it causes

highly flammable fluid and vapors to escape, causing an under hood fire, or at least

presenting a serious fire risk.

      2.     Though Ford knew or should have known of the stall and fire risk

prior to launching the vehicles, it did nothing to promptly warn owners and lessees,

instead waiting over a year to announce a safety recall. Ford then assured its

customers that it had developed a “fix” that would alleviate the risk of fire, but it

chose not to inspect the engines to determine which cars had the defect or issue a

bona fide fix that addressed the engine defect, and Ford completely ignored the

dangerous engine stall condition that always results from a blown engine. Instead,


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Ford chose to remove Active Grille Shutter Blinds and drill holes in the under-

engine shield in an attempt to mitigate the risk that fluids and vapors expelled from

the blown engines will ignite, while leaving the vapors and fluids themselves to

run onto the roadways, or onto vehicle owners’ driveways and garages.

      3.     But this “fix” utterly failed, leaving all owners in the same position as

owners like Plaintiffs Nishon and Capps who suffered catastrophic cars fires when

the engines in their Stall/Fire Risk Vehicles blew up. Ford has admitted its recall

did not work, but it has yet to announce a fix.




                            Plaintiff Nishon’s Car Fire




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                             Plaintiff Capp’s Car Fire

      4.     Ford has never addressed the dangerous stall risk and all of the

Stall/Fire Risk Vehicles remain at risk of a catastrophic block breach and engine

fire, including those vehicles that have had the recall repair. What is more, Ford’s

now abandoned first “fix” creates new safety, environmental, and performance

issues for those who have had the recall performed that Ford has not addressed.




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       5.    Shockingly, Ford knows how to address this dangerous defect. In

March 2022, Ford issued Safety Recall 22S10, which covered a subset of 155 of

the MY2021 Ford Escapes with the 2.5L engine. The issue was an improper

crankshaft machining surface, which led to the exact failure here, a “block breach”

caused by the connecting rods and bearings being expelled through the block and

oil pan.1 For that recall, Ford instructed dealers to inspect the connecting rod

bearings against a subjective instruction guide, and replace the engine if the defect

is revealed.2 Ford could easily implement that same recall inspection and repair

here, and it would reveal exactly which of the now over 125,000 vehicles has the

faulty engine. Ford is now refusing to actually inspect the engines of the recall

population, presumably because it does not want to pay the approximately $470

per car inspection time that it authorized for its dealers in the 22S10 Recall,3 which

would cost Ford at least $59 million. Apparently to Ford, the safety of 125,000 of

its customers is not worth $59 million.




   1
     See Exhibit 1, Letter to All U.S. Ford and Lincoln Dealers regarding Advance
Notice of Safety Recall 22S10 (Feb. 24, 2022), https://static.nhtsa.gov/odi/rcl/
2022/RCMN-22V109-4423.pdf; Exhibit 2, Letter to All U.S. Ford and Lincoln
Dealers regarding Supplement #1 to Advance Notice of Safety Recall 22S10 (May
17, 2022), https://static.nhtsa.gov/odi/rcl/2022/RCMN-22V109-4343.pdf.
   2
     See id.
   3
     See id. The recall allows for 4.7 hours of shop time to inspect the engine. At a
conservative $100 per hour rate, this is $470 per car.
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      6.     Model Year 2020-2023 Ford Hybrid Escapes, 2022-2023 Ford Hybrid

Mavericks, and 2021-2023 Lincoln Hybrid Corsairs (the “Stall/Fire Risk

Vehicles”) contain 2.5-liter hybrid electric vehicle (“HEV”) and 2.5-liter plug-in

hybrid electric vehicle (“PHEV”) engines that can suffer a “block breach” and eject

significant quantities of engine oil and/or fuel vapor that can accumulate near

ignition sources, resulting in a spontaneous stall and under hood smoke and fires

(the “Spontaneous Stall/Fire Risk”).

      7.     The Spontaneous Stall/Fire Risk exposes putative class members to an

unreasonable risk of accident, injury, death, or property damage if their vehicle

engine blows and suddenly stalls and ejects fluids and vapors or catches fire while

in operation. The Spontaneous Stall/Fire Risk also exposes passengers, other

drivers on the road, and other bystanders to an unreasonable risk of accident,

injury, death, and property damage.

      8.     This stall and fire risk was known or should have been known to Ford

and is still unremedied by Ford. Not only did Ford fail to disclose the Spontaneous

Stall/Fire Risk to consumers both before and after their purchases of Stall/Fire Risk

Vehicles, but it also misrepresented the vehicles’ safety, reliability, functionality,

and quality by this omission. Ford also omitted the consequences, including the

serious safety hazards and monetary harm caused by the Spontaneous Stall/Fire

Risk—e.g., damage to a vehicle and injury or death to persons in the vehicle or


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another vehicle in proximity should the Stall/Fire Risk Vehicle suddenly stall and

lose power, or catch on fire, and/or damage to property from engine oil and fuel

vapor leaking onto roadways and driveways, and into garages.

       9.    Warranty claims relating to the Spontaneous Stall/Fire Risk were

made to Ford as early as April 5, 2021.4 Yet Ford continued to sell the Stall/Fire

Risk Vehicles and did nothing to warn purchasers of the Spontaneous Stall/Fire

Risk until it issued a stop-sale order on June 8, 2022.

       10.   Prior to its original recall, Ford admitted that there had been at least

23 reports of under hood fires or smoke in a vehicle population of 100,689. The

fires have all occurred in the engine compartment of the Stall/Fire Risk Vehicles.

       11.   In July, 2022, Ford recalled the Stall/Fire Risk Vehicles and instituted

a “fix,” but the fix Ford used to resolve the Stall/Fire Risk did not include any

inspection of the vehicle engines and did not address the manufacturing flaws in

the 2.5L HEV/PHEV engines that could lead to the stall and explosive block

breach and possible fire. Instead, Ford completely ignored the risk of a dangerous

stall and pushed a fire “fix” that required dealers to drill drainage holes in the

Stall/Fire Risk Vehicles’ under-engine shields and to remove four blinds from the

vehicles’ Active Grille Shutter systems to allow ejected fluid and vapors from a


   4
    Exhibit 3, National Highway Traffic Safety Administration, Part 573 Safety
Recall Report No. 22V-484 (July 7, 2022), https://static.nhtsa.gov/odi/rcl/2022/
RCLRPT-22V484-6430.PDF, at 4.
                                          -6-
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block breach to escape from the Stall/Fire Risk Vehicles’ engine compartments

before igniting.5 Choosing profits over safety, Ford chose not to inspect the engines

to locate and replace those that were defectively manufactured.

       12.   To enable its dealers across the country to perform this dubious “fix,”

Ford sent a detailed letter to the dealers explaining the modifications required on

all Stall/Fire Risk Vehicles.6

       13.   One-half of the “fix” requires dealers to remove the under-engine

shield, drill a series of five holes measuring one-and-three-quarters of an inch in

diameter, and cut out one slightly larger section from near the center of the shield.7

These modifications are highlighted in the image below.




   5
     A blind is a segment of the grille shutter system that opens and closes to
change air flow through the engine compartment. See, e.g., Exhibit 4, Letter to All
U.S. Ford and Lincoln Dealers regarding New Vehicle Demonstration/Delivery
Hold (July 8, 2022), https://static.nhtsa.gov/odi/rcl/2022/RCMN-22V484-1315.pdf.
   6
     See id.
   7
     Id. at 9-15.
                                         -7-
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   Figure 1: Image from Ford’s letter to its dealers demonstrating the under
   engine shield modification, with additional drainage holes highlighted in
     blue, as part of the required “fix” on all Spontaneous Fire Vehicles.8

         14.    The other half of the “fix” requires dealers to remove four shutter

blinds from the Active Grille Shutter system by bending the blinds at the center,

pulling them toward the front of the vehicle, and removing the side tabs to dislodge

the blinds.9 The images below show an active shutter grille system before and after

the four blinds are removed, as well as a closer view of the blinds removed from

one Stall/Fire Risk Vehicle.




   8
       Id. at 15.
   9
       Id. at 7-9.
                                           -8-
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 Figure 2: Images from Ford’s letter to its Dealers showing the Active Grille
Shutter System before and after four blinds are removed as part of the “fix”10



   10
        Id. at 7, 9.
                                     -9-
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  Figure 3: Image of four blinds removed from a Ford Maverick active grille
    shutter system as part of Ford’s “fix” for the Stall/Fire Risk Vehicles11

        15.   The “fix” did not work. Ford continued to receive reports of block

breach fires, even in Stall/Fire Risk Vehicles that had the recall repair correctly

performed. Less than a year after the recall “fix” was announced, Ford issued a

new recall to replace and expand it but offered no new or revised fix or repair.




   11
      Exhibit 5, “u/Ford_Trans_Guy,” 22S47 Underhood Fire Recall, Reddit.com
(July 27, 2022), https://www.reddit.com/r/FordMaverickTruck/comments/w9jadp/
22s47_underhood_fire_recall.
                                        - 10 -
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      16.    Aside from being an ineffective solution, Ford’s “fix” created new

problems. First, it simply did not do anything to address the potential for an

explosive block breach from defective engine machining. Second, allowing ejected

fluids and vapors to leak out of the Stall/Fire Risk Vehicles creates an

environmental hazard and sets the stage for future property damage and possible

injury. Furthermore, removing several of the blinds from the Active Grille Shutter:

(1) increases aerodynamic drag on the vehicles, resulting in decreased fuel

efficiency; (2) increases warm-up time in cold weather, which increases emissions;

and (3) lengthens the time required to warm the passenger cabin and defrost the

windshield. Drilling holes and cutting openings in the under-engine shield creates

additional performance issues. The shield is designed to reduce aerodynamic drag

and protect the engine and powertrain from road debris, snow packing, corrosive

salt spray, and road splash. Perforating the shield will increase road noise and

unquestionably allow increased environmental intrusion of the engine

compartment.

      17.    Critically, Ford would have completed all of its pre-sale testing,

measurements, durability testing and certifications with the Active Grille Shutters

and under-engine shield intact. None of it has been redone following these

significant system degradations, meaning that Ford is selling these vehicles with




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specifications and durability testing results that are at least suspect, if not outright

inflated.

        18.   In June 2023, nearly a year after it claimed to have resolved the

Stall/Fire Risk, Ford initiated a new recall that “expands and replaces” its recall

from July 2022.12 Ford admits that “Vehicles previously repaired under 22V-484

will need to have the new remedy completed.”13 Yet there is no new remedy

specified in the recall, only a promise to mail additional letters to consumers “once

the remedy is available.”14

        19.   A vehicle that has a risk of spontaneously stalling and catching on fire

while in operation is not fit for its ordinary purpose. And a “fix” that does nothing

to inspect for and repair an underlying issue, and in fact creates additional

problems, is not a fix at all. Ford is placing an unfair burden on class members

whose vehicles are still powered by engines that may literally explode and eject

flammable fluids and vapors, and whose vehicles now burn more fuel, require

longer times to warm up and defrost the windshield, are noisier and less durable,

and now may now additionally face the risk of flammable fluids and vapors




   12
      See Exhibit 6, Letter from NHTSA to Ford acknowledging Ford’s
notification of Recall No. 23V-380 (June 5, 2023), https://static.nhtsa.gov/odi/rcl/
2023/RCAK-23V380-9304.pdf.
   13
      Id.
   14
      Id.
                                          - 12 -
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leaking onto their garages or driveways—without the original fire risk being

alleviated all.

        20.   Ford knew or should have known about the Spontaneous Stall/Fire

Risk before the Stall/Fire Risk Vehicles went to market. At the very least, Ford

certainly knew about the Spontaneous Stall/Fire Risk well before it issued its

recall, as evidenced by: (1) the rigorous pre-launch testing of the Stall/Fire Risk

Vehicles; (2) the direct and public reports of smoke or fires in 23 Stall/Fire Risk

Vehicles; and (3) Ford’s own investigation of fires in the Stall/Fire Risk Vehicles.

        21.   Ford also knew that its July 2022 recall “fix” would be ineffective. It

had already issued a recall for the same issue where it inspected the engines in the

field and replaced those that had a machining defect that could lead to block-

breach and fires. Ford chose not to implement that inspection and replacement fix

because it cost too much, even though Ford knew that it was not addressing the

underlying issue of catastrophic engine failure leading to an engine block breach.

Even if Ford’s estimate of a one-percent defect rate (in 125,322 Stall/Fire Risk

Vehicles) is accurate15—and Ford has provided no evidence that it is not the 5%

failure rate it disclosed in its first block breach defect recall—this still means that

Ford sold at least 1,253—and may have sold over 6,250—ticking time bombs, the


   15
     See Exhibit 7, National Highway Traffic Safety Administration, Part 573
Safety Recall Report No. 23V-380 (May 26, 2023), https://static.nhtsa.gov/odi/rcl/
2023/RCLRPT-23V380-2876.PDF, at 1.
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vast majority of which are still on the road, at risk of stall and fire every time they

are driven.

      22.     Ford offers no reimbursement to Stall/Fire Risk Vehicle owners and

lessees for out-of-pocket expenses, loss of use, and loss of value. Because a bona

fide repair to the 2.5L HEV/PHEV engines was not being made, putative class

members are left with a vehicle that has had its functional Active Grill Shutter

System partially destroyed and its engine shield perforated, and without a safely

operable vehicle for an unknown and potentially lengthy period.

      23.     To add further insult to injury, rather than do the right thing and

globally offer every consumer a buy back of their Stall/Fire Risk Vehicle at a fair

price—e.g., the Blue Book value on the day before the recall was announced—or

at least offer to provide a comparable loaner, Ford has done nothing of the sort.

      24.     Because of Ford’s omissions regarding the Spontaneous Stall/Fire

Risk and failure to act more quickly in disclosing and providing a true remedy, it

has violated state consumer protection acts, been unjustly enriched, and breached

implied warranties of merchantability. Plaintiffs and other owners and lessees of

the Stall/Fire Risk Vehicles have been injured in fact, incurred damages, and

suffered ascertainable losses in money and property. Had Plaintiffs and putative

class members known of the Spontaneous Stall/Fire Risk, then they would either

not have purchased or leased those vehicles or would have paid less for them.


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Spontaneous stall, or fires and smoke in the Stall/Fire Risk Vehicles necessitate

expensive repairs, car rentals, car payments, towing charges, property damage,

time off work, loss of use, and other miscellaneous costs. And Plaintiffs and class

members whose vehicles have undergone Ford’s “fix” remain at the very same risk

of spontaneous fire, have cars with partially ruined components, and may now

additionally need to contend with property damage due to leaked fluids and vapors.

      25.    Plaintiffs bring this class action to redress Ford’s misconduct.

Plaintiffs seek damages and a repair under the Magnuson-Moss Warranty Act, 15

U.S.C. §§ 2301-2312, state consumer protection acts, state implied warranty acts,

and unjust enrichment at common law.

                              II.    JURISDICTION

      26.    This Court has original jurisdiction over this lawsuit under the Class

Action Fairness Act of 2005, 28 U.S.C. §§ 1332(d)(2) and (6), because Plaintiffs

and Defendant are citizens of different states; there are more than 100 members of

the Nationwide Class and each Subclass (as defined herein); the aggregate amount

in controversy exceeds $5 million, exclusive of attorneys’ fees, interest, and costs;

and class members reside across the United States. The citizenship of each party is

described further below in the “Parties” section.

      27.    This Court has personal jurisdiction over the Defendant by virtue of

its transactions and business conducted in this judicial district, and because


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Defendant is headquartered in Michigan. Defendant has transacted and done

business, and violated statutory and common law, in the State of Michigan and in

this judicial district.

                                   III.    VENUE

       28.    Venue is proper in this judicial district under 28 U.S.C. § 1391

because Defendant transacts substantial business and is headquartered in this

district.

                                  IV.     PARTIES

A.     Plaintiffs

       1.     Todd Nishon (California)

       29.    Plaintiff and proposed class representative Todd Nishon (“Plaintiff”

for purposes of this paragraph) is a resident and citizen of San Diego, California.

Plaintiff purchased a 2021 Escape Titanium Hybrid on or about November 2, 2021,

from Kearny Mesa Ford in San Diego, California. Plaintiff’s Ford Escape is a

Stall/Fire Risk Vehicle that suffers from the Spontaneous Stall/Fire Risk.

       30.    Plaintiff purchased his Stall/Fire Risk Vehicle as his primary, day-to-

day vehicle. He regularly used it for his own transportation needs. He also used the

vehicle to transport his family and to run errands.

       31.    Through exposure and interaction with Ford, Plaintiff was aware of

Ford’s uniform and pervasive marketing messages of reliability, safety, and the

vehicle’s benefits for use by families, including capacity and cargo room; these

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were the primary reasons Plaintiff purchased the Stall/Fire Risk Vehicle. However,

despite touting the safety, reliability, and family-friendly aspect of the Stall/Fire

Risk Vehicle, at no point did Ford or its agents or other representatives disclose the

Spontaneous Stall/Fire Risk to Plaintiff before his purchase.

      32.    Plaintiff received the recall and repair notice from Ford indicating that

Ford had a repair that could be completed to alleviate the Stall/Fire Risk in his

vehicle. In or about September 2022, Plaintiff had his vehicle at the dealership for

an oil change and asked his dealer to complete the recall repair so that it would no

longer be subject to the Spontaneous Stall/Fire Risk. The dealership declined to

complete the recall repair. It told Plaintiff that it only had one employee trained to

complete the recall and that employee could only do the work on particular

weekdays. The dealership declined to schedule a day for Plaintiff to have the recall

completed.

      33.    On or about October 28, 2022, at approximately 8pm, the engine

compartment in Plaintiff’s Ford Escape hybrid exploded into flames. Plaintiff was

fortunate to escape the inferno, as the pictures below show.




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      34.    Had Plaintiff been aware of the Spontaneous Stall/Fire Risk he would

not have purchased this vehicle, or he would have paid less for the vehicle.


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      2.     James Capps (Arizona)

      35.    Plaintiff and proposed class representative James Capps (“Plaintiff”

for the purposes of this paragraph) is a resident and citizen of Kingman, Arizona.

Plaintiff purchased a 2021 Ford Escape Hybrid on or about February 24, 2021,

from Anderson Ford in Kingman, Arizona. Plaintiff’s Escape Hybrid is a Stall/Fire

Risk Vehicle that suffers from the Spontaneous Stall/Fire Risk.

      36.    Plaintiff purchased his Stall/Fire Risk Vehicle as his primary, day-to-

day vehicle. He regularly used it for his own transportation needs and for running

errands. Plaintiff’s wife also regularly rode in the vehicle with him.

      37.    Through exposure and interaction with Ford, Plaintiff was aware of

Ford’s uniform and pervasive marketing messages of reliability and safety.

Plaintiff also states that he assumed Ford had conducted proper safety testing

before marketing the vehicle. However, despite touting the safety and reliability of

the Stall/Fire Risk Vehicle, at no point did Ford or its agents or other

representatives disclose the Spontaneous Stall/Fire Risk to Plaintiff before his

purchase.

      38.    On April 5, 2022, Plaintiff and his wife were driving to Mesquite,

Nevada, from Kingman, Arizona. They were about 40 miles north of Kingman,

around 12:30 pm, at the intersection of Stockton Hill road, and Pierce Ferry road

when plaintiff notice the vehicle was not driving right. Plaintiff turned the vehicle


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around to go back to Kingman. Plaintiff noticed white smoke coming from under

the car and immediately turned around to pull off at the intersection, which was

about 50 yards away. The car gave the message “zero oil pressure” “engine shut

down.” The vehicle rolled into the pull-off and Plaintiff shut it down. Another

vehicle pulled in and yelled at Plaintiff and his wife to get out of the vehicle as it

was on fire. Plaintiff and his wife grabbed what was handy and got out

immediately. The vehicle was totally consumed by the fire within about 15

minutes. Below is a photograph of the Stall/Fire Risk Vehicle engulfed in flames.




      39.    A few days after the fire, Plaintiff received a recall notice about

catastrophic engine failure and fire. Had Plaintiff been aware of the Spontaneous



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Stall/Fire Risk and Ford’s proposed “fix,” he would not have purchased the

vehicle, or he would have paid less for the vehicle.

      3.     Joseph Vaillancourt (Arizona)

      40.    Plaintiff and proposed class representative Joseph Vaillancourt

(“Plaintiff” for the purposes of this paragraph) is a resident and citizen of Phoenix,

Arizona. Plaintiff purchased a 2021 Escape Hybrid on or about November 26,

2021, from a dealership in Glendale, Arizona. Plaintiff’s Escape is a Stall/Fire Risk

Vehicle that suffers from the Spontaneous Stall/Fire Risk.

      41.    Plaintiff purchased his Stall/Fire Risk Vehicle as his primary, day-to-

day vehicle. He regularly uses it for his own transportation needs and for running

errands. Plaintiff’s daughter and son in law often ride with him, as do fellow

church members.

      42.    Through exposure and interaction with Ford, Plaintiff was aware of

Ford’s uniform and pervasive marketing messages of reliability and safety.

Plaintiff also states that he assumed Ford had conducted proper safety testing

before marketing the vehicle. However, despite touting the safety and reliability of

the Stall/Fire Risk Vehicle, at no point did Ford or its agents or other

representatives disclose the Spontaneous Stall/Fire Risk to Plaintiff before his

purchase.




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      43.    Although Plaintiff’s vehicle has been “fixed” in accordance with

Ford’s July 2022 Recall, Plaintiff now knows that this “fix,” by design, did nothing

to alleviate the stall risk, and Now is confirmed that it does not alleviate the fire

risk either. Plaintiff is still concerned about driving the Stall/Fire Risk Vehicle. The

additional holes drilled into his vehicle’s under-engine shield and the blinds

removed from his vehicle’s active grille shutter are not an adequate “fix” because

these changes do not address the underlying manufacturing problems with the

engine. If a manufacturing issue renders the engine of Plaintiff’s vehicle

susceptible to leaking fluid and vapors, then Ford’s fix should remedy that issue,

and it should not just attempt to provide an escape route for those fluids and vapors

to end up on the road, on Plaintiff’s driveway, or on the floor of Plaintiff’s garage.

      44.    Had Plaintiff been aware of the Spontaneous Stall/Fire Risk and

Ford’s proposed “fix,” he would not have purchased the vehicle, or he would have

paid less for the vehicle.

      4.     Harry Hilburg (Missouri)

      45.    Plaintiff and proposed class representative Harry Hilburg (“Plaintiff”

for the purposes of this paragraph) is a resident and citizen of St. Louis, Missouri.

Plaintiff purchased a 2022 Escape Hybrid on or about May 25, 2022, from a

dealership in Ellisville, Missouri. Plaintiff’s Escape is a Stall/Fire Risk Vehicle that

suffers from the Spontaneous Stall/Fire Risk.


                                         - 23 -
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      46.    Plaintiff purchased his Stall/Fire Risk Vehicle as his primary, day-to-

day vehicle. He regularly uses it for his own transportation needs and for running

errands. Plaintiff’s wife also regularly rides in the vehicle with him.

      47.    Through exposure and interaction with Ford, Plaintiff was aware of

Ford’s uniform and pervasive marketing messages of reliability and safety.

Plaintiff also states that he assumed Ford had conducted proper safety testing

before marketing the vehicle. However, despite touting the safety and reliability of

the Stall/Fire Risk Vehicle, at no point did Ford or its agents or other

representatives disclose the Spontaneous Stall/Fire Risk to Plaintiff before his

purchase.

      48.    On or about September 12, 2022, Plaintiff delivered his vehicle to his

dealer to have Ford’s 22S4704 recall repair performed. Although at that time, the

dealer and Ford’s recall documentation indicated to Plaintiff that his vehicle had

been “fixed” in accordance with Ford’s recall, Plaintiff was still concerned about

driving the Stall/Fire Risk Vehicle. Plaintiff did not believe that the additional

holes drilled into his vehicle’s under-engine shield or the blinds removed from his

vehicle’s Active Grille Shutter were an adequate “fix” because these changes did

not address the underlying manufacturing problems with the engine.

      49.    In June 2023, Plaintiff received a new recall notice from Ford that

appeared to warn Plaintiff of the exact same engine failure and fire risk that had


                                         - 24 -
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supposedly been fixed with the prior recall. Plaintiff was dismayed to learn that the

prior recall “repair” had actually done nothing to reduce the Spontaneous Stall/Fire

Risk and that he had been driving his car with this ongoing defect the entire time.

Ford’s new recall provided no information about an actual repair and only

promised a future notice when it was available.

      50.    Had Plaintiff been aware of the Spontaneous Stall/Fire Risk, he would

not have purchased the vehicle, or he would have paid less for the vehicle.

      5.     Raymond Dyne III (Nebraska)

      51.    Plaintiff and proposed class representative Raymond Dyne III

(“Plaintiff” for the purposes of this paragraph) is a resident and citizen of Omaha,

Nebraska. Plaintiff purchased a 2022 Ford Maverick on or about April 13, 2022,

from a dealership in Omaha, Nebraska. Plaintiff’s Maverick is a Stall/Fire Risk

Vehicle that suffers from the Spontaneous Stall/Fire Risk.

      52.    Plaintiff purchased his Stall/Fire Risk Vehicle as his primary, day-to-

day vehicle. He regularly uses it for his own transportation needs and for running

errands. Plaintiff is a single parent and his two children often ride in the Maverick.

      53.    Through exposure and interaction with Ford, Plaintiff was aware of

Ford’s uniform and pervasive marketing messages of reliability and safety.

Plaintiff also states that he assumed Ford had conducted proper safety testing

before marketing the vehicle. However, despite touting the safety and reliability of


                                        - 25 -
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the Stall/Fire Risk Vehicle, at no point did Ford or its agents or other

representatives disclose the Spontaneous Stall/Fire Risk to Plaintiff before his

purchase.

      54.    When Plaintiff first received notice concerning the recall and the “fix”

was available, he attempted to schedule the work with the dealer. The dealer

repeatedly told Plaintiff that it did not have the parts necessary to perform the

recall fix. Several months later, Plaintiff read about the repair and noted that it did

not require any new parts. Plaintiff contacted an 800 number on the recall notice

and Ford then contacted the dealer and acted as a liaison to set up an appointment

for Plaintiff to have the recall “fix” done.

      55.    On March 16-17, 2023, Plaintiff’s Maverick was at the dealer for the

“fix.” Plaintiff was not offered nor provided a loaner vehicle. Instead, Plaintiff had

to take an Uber from the dealership for drop-off and to the dealership to pick up his

Maverick after the work was done. Plaintiff is very concerned that even though his

vehicle has been “fixed” in accordance with Ford’s recall, it remains at risk of a

spontaneous stall and fire while driving. Plaintiff regularly drives with his two

children and he is unsure if he could safely get them out of the car in the event of a

spontaneous fire and he is very concerned that a spontaneous stall could result in a

serious accident. For these reasons, Plaintiff goes out of his way to avoid longer

trips in his Maverick, especially with his children. Plaintiff is also concerned that


                                         - 26 -
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the perforation of the under-engine shield and removal of the Grille Shutter Blinds

has made his Maverick less fuel efficient and adversely affected its durability.

      56.    Plaintiff believes that Ford should have inspected his engine to

determine whether it has a manufacturing defect that could cause his engine to

blow, causing a spontaneous stall and fire. Plaintiff believes that Ford has

diminished the value of his Maverick by manufacturing it with an engine defect

and by unnecessarily removing the Active Grille Shutters and drilling holes in his

engine shield, for no benefit at all.

      57.    Had Plaintiff been aware of the Spontaneous Stall/Fire Risk, he would

not have purchased the vehicle, or he would have paid less for the vehicle.

      6.     William Simmons (Wisconsin)

      58.    Plaintiff and proposed class representative William Simmons

(“Plaintiff” for the purposes of this paragraph) is a resident and citizen of

Janesville, Wisconsin. Plaintiff purchased a 2022 Lincoln Corsair on or about

September 9, 2022, from a dealership in Janesville, Wisconsin. Plaintiff’s Corsair

is a Stall/Fire Risk Vehicle that suffers from the Spontaneous Stall/Fire Risk.

      59.    Plaintiff purchased his Stall/Fire Risk Vehicle as his primary, day-to-

day vehicle. He regularly uses it for his own transportation needs and for running

errands. Plaintiff’s wife also regularly rides in the vehicle with him.




                                         - 27 -
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      60.    Through exposure and interaction with Ford, Plaintiff was aware of

Ford’s uniform and pervasive marketing messages of reliability and safety.

Plaintiff also states that he assumed Ford had conducted proper safety testing

before marketing the vehicle. However, despite touting the safety and reliability of

the Stall/Fire Risk Vehicle, at no point did Ford or its agents or other

representatives disclose the Spontaneous Stall/Fire Risk to Plaintiff before his

purchase.

      61.    Plaintiff received a recall notice in or about June 2023, concerning the

risk of engine failure and under hood fire. Plaintiff contacted his dealer to inquire

about the recall and was repeatedly told that it was not available. Later, the

dealership told Plaintiff that the recall repair was no longer available and Ford was

working on a new repair that was not yet available.

      62.    Had Plaintiff been aware of the Spontaneous Stall/Fire Risk, he would

not have purchased the vehicle, or he would have paid less for the vehicle.

                        V.    FACTUAL ALLEGATIONS

A.    Ford Marketed The Stall/Fire Risk Vehicles as Safe, Reliable, And Fuel-
      Efficient, And Ford Knew That These Attributes Were Material To
      Consumers

      63.    The Ford and Lincoln Stall/Fire Risk Vehicles are marketed to

consumers as safe, reliable vehicles, and Ford knew these qualities were material

to consumers in marketing them in this manner. These qualities were in fact


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material to Plaintiffs and Ford had the opportunity when describing safety features

in sales material to be truthful.

        64.   For example, in the sales brochure for the 2020 Ford Escape, Ford

touted various safety features like pre-collision assist, blind spot alerts, lane-

keeping system, and rear-view cameras in the Stall/Fire Risk Vehicles because

Ford knew safety was material to the average customer.16 Plaintiffs do not allege

that the statements in the following brochures are false, rather they demonstrate

that Ford knew safety was material and Ford had an opportunity to make complete

safety related disclosures in this brochure and in the others cited below.




   16
    See Exhibit 8, Model Year 2020 Ford Escape brochure, at 11; Exhibit 9,
Model Year 2021 Ford Escape brochure, at 9, 14.
                                         - 29 -
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                                    - 30 -
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        65.   In the sales brochure for the 2022 Ford Maverick, Ford again focused

on safety features. Knowing safety is material to Plaintiffs and putative class

members, Ford told consumers that the Maverick’s built-in Ford Co-Pilot 360

Technology can help drivers “feel confidently in command behind the wheel.”17




   17
        Exhibit 10, Model Year 2022 Ford Maverick brochure, at 7.
                                        - 31 -
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        66.    In the brochure given to dealership personnel to inform consumers

about the vehicle, Ford noted among the available safety features the inclusion of a

LATCH system (lower anchors and tether anchors for children), which is

specifically designed to safely secure children’s car seats in the car, because Ford

knew the safety of customers’ children was material to the average consumer.18


   18
        Exhibit 10, Model Year 2022 Ford Maverick dealership brochure, at 11.
                                        - 32 -
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         67.    Ford also emphasizes the Maverick’s overall reliability, noting that

the truck is “engineered for extremes” and has undergone “durability testing”

because Ford knew that reliability is material to the average consumer.19




         68.    Importantly, Ford has not redone any of this durability testing on

vehicles that have had their Active Grille Shutters removed and their under-engine

shields perforated. These changes will certainly allow more road debris, water, salt

and snow into the engine compartment which would likely decrease durability and

could have many other adverse consequences. Yet Ford does not know the extent

of these adverse effects because it has made no attempt to discover them, instead

sticking with its testing from before the engine compartment was compromised by

its failed recall “fix.”

         69.    Ford makes similar claims about safety and reliability in its sales

brochures for the 2021-2022 Lincoln Corsairs. As with the Ford Maverick, the




   19
        Id. at 10.
                                           - 33 -
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Lincoln Corsair safety features list includes a LATCH system,20 appealing to

consumers with young children whose car seats need to be safely secured in the

vehicle, because Ford knew the safety of customers’ children was material to the

average consumer.

        70.   Both the 2021 and 2022 sales brochures for the Ford Maverick

highlight a host of other safety features, including blind spot detection, a lane-

keeping system, pre-collision assist, and a rearview camera, because Ford knew

safety was material to the average customer.21 The 2022 brochure further boasts

that drivers will experience “all-season confidence.”22




   20
     Exhibit 11, Model Year 2021 Lincoln Corsair brochure, at 9; Exhibit 12,
Model Year 2022 Lincoln Corsair brochure, at 13.
  21
     Exhibit 11, Model Year 2021 Lincoln Corsair brochure, at 4; Exhibit 12,
Model Year 2022 Lincoln Corsair brochure, at 11.
  22
     Exhibit 12, Model Year 2022 Lincoln Corsair brochure, at 8.
                                        - 34 -
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         71.    As with the Escape and the Maverick, Ford also highlights the

Corsair’s engine’s performance and reliability. The 2022 brochure notes that even

the base model “smoothly responds” and offers a “thrilling drive,”23 leading

consumers to believe that the engine is of high quality and reliable.




   23
        Id. at 8.
                                         - 35 -
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B.        Ford Marketed The Stall/Fire Risk Vehicles As Fuel-Efficient And Ford
          Knew This Attribute Was

          72.    The Ford and Lincoln Stall/Fire Risk Vehicles are marketed to

consumers as fuel-efficient and Ford knew this quality was material to consumers

in marketing the vehicles in this manner. This quality was in fact material to

Plaintiffs.

          73.    For example, in the sales brochure for the 2020 Ford Escape, Ford

noted that customers could expect to achieve an average of 40 miles per gallon in

the vehicle.24




     24
          Exhibit 8, Model Year 2020 Ford Escape brochure, at 2.
                                          - 36 -
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        74.   Ford similarly advertised the fuel economy of the 2021-2022 Model

Year Ford Escapes (up to 41 combined miles-per-gallon),25 and it emphasized the

2021-2022 Model Year Lincoln Corsairs’ hybrid capabilities.26

        75.   In advertising the 2022 Model Year Ford Maverick, Ford noted that

customers could expect to achieve an average of 37 miles per gallon.27 Ford also




   25
      Exhibit 9, 2021 Model Year Ford Escape brochure, at 16; Exhibit 13, 2022
Model Year Ford Escape brochure, at 16.
   26
      Exhibit 11, 2021 Model Year Lincoln Corsair brochure, at 9; Exhibit 12,
2022 Model Year Lincoln Corsair brochure, at 7.
   27
      Exhibit 10, 2022 Model Year Ford Maverick brochure, at 2.
                                       - 37 -
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referred to the vehicle as having “excellent affordability” thanks to its high fuel

efficiency.28




        76.     Furthermore, Ford specifically advertised that its 2020-2022 Model

Year Ford Escapes and 2021-2022 Model Year Lincoln Corsairs were equipped

with active grille shutters.29 Ford explains on its website that active grille shutters

reduce aerodynamic drag on its vehicles and improve fuel efficiency.30




   28
      Id.
   29
      Exhibit 8, Model Year 2020 Ford Escape brochure, at 3; Exhibit 9, Model
Year 2021 Ford Escape brochure, at 14; Exhibit 13, Model Year 2022 Ford Escape
brochure, at 15; Exhibit 11, Model Year 2021 Lincoln Corsair brochure, at 9;
Exhibit 12, Model Year 2022 Lincoln Corsair brochure, at 13.
   30
      Exhibit 14, Active Grille Shutter, Ford, https://www.ford.com.au/technology/
active-grill-shutter (last accessed Oct. 7, 2022).
                                         - 38 -
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        77.   As Ford notes, “[a]erodynamic ‘drag’ is reduced when the grille is

closed or partially closed, as air cannot flow through the grille into the vehicle.”31

        78.   Active Grille Shutters are highly engineered systems useful to reduce

aerodynamic drag and increase fuel efficiency. Recent Society of Automotive

Engineers technical papers published in 2022 found that Active Grille Shutters can

improve vehicle fuel economy between 1-4%.32,33

        79.   While Active Grille Shutters primarily reduce aerodynamic drag,

these systems have important secondary benefits, including improving the warm up

time of the engine when parked and retaining engine heat when parked.34,35

Reducing warm up time reduces harmful engine emissions, in addition to aiding

passenger comfort in cold weather and safety in reducing time to defrost a

windshield. Minimum windshield defroster performance is regulated by a Federal


   31
       Id.
   32
       Exhibit 15, Chacko, S., Alonso, C., Solimene, A., Simon, J. et al., “Fuel
Economy Benefit of Active Grille Shutters for Real World, Worldwide
Harmonized Light Vehicles Test Procedure, and Real Driving Emission Cycles,”
SAE Technical Paper 2022-01-5013, 2022, doi:10.4271/2022-01-5013.
    33
       Exhibit 16, Cho, Y., Chang, C., Shestopalov, A., and Tate, E., “Optimization
of Active Grille Shutters Operation for Improved Fuel Economy,” SAE Int. J.
Passeng. Cars - Mech. Syst. 10(2):2017, doi:10.4271/2017-01-1513.
    34
       Exhibit 17, Dutta, N., Spenley, M., Cromback-Dugeny, P., Stegmann, B. et
al., “Active Grille Shutters Control and Benefits in Medium to Large SUV: A
System Engineering Approach,” SAE Technical Paper 2020-01-0945, 2020,
doi:10.4271/2020-01-0945.
    35
       Exhibit 18, El-Sharkawy, A., Kamrad, J., Lounsberry, T., Baker, G. et al.,
“Evaluation of Impact of Active Grille Shutter on Vehicle Thermal Management,”
SAE Int. J. Mater. Manuf. 4(1):1244-1254, 2011, doi:10.4271/2011-01-1172.
                                         - 39 -
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Motor Vehicle Safety Standard, FMVSS Standard No. 103.36,37 On information and

belief, Ford has not rerun FMVSS No. 103 testing, so it has not established

whether it remains compliant with this required standard following the recall

modifications that it implemented both in consumer vehicles and during

manufacturing. Failure to meet FMVSS standards can require an automatic recall.

C.        Plaintiffs And Class Members Paid Thousands Of Dollars For The
          Stall/Fire Risk Vehicles Because They Thought The Vehicles Were Safe,
          Reliable, And Fuel-Efficient

          80.   Plaintiffs and putative class members, believing in the safety,

reliability, and fuel efficiency of the Stall/Fire Risk Vehicles as touted by Ford,

paid thousands of dollars for the vehicles. The Manufacturer’s Suggested Retail

Price (“MSRP”) for the 2023 Ford Escape Plug-In Hybrid is $41,995.38 The MSRP

for the Escape Hybrid starts at $34,835 for the ST-Line trim and goes up to

$40,955 for the ST-Line Elite;39 the MSRP for the 2022 Ford Maverick starts at

$22,595 for the base-level trim and goes up to $28,355;40 and the MSRP for the




     36
      49 CFR § 571.103.
     37
      Exhibit 19, NHTSA Laboratory Test Procedure for FMVSS 103 (June 26,
1996), https://www.nhtsa.gov/sites/nhtsa.gov/files/documents/tp-103-13_tag.pdf.
   38
      Exhibit 20, 2023 Ford Escape Plug-in Hybrid, Edmunds.com,
https://www.edmunds.com/ford/escape/2023/plug-in-hybrid/.
   39
      Exhibit 21, 2023 Ford Escape Hybrid, Edmunds.com,
https://www.edmunds.com/ford/escape/2023/hybrid/.
   40
      Exhibit 22, 2023 Ford Maverick, Edmunds.com, https://www.edmunds.com/
ford/maverick.
                                          - 40 -
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2023 Lincoln Corsair starts at $39,885 for the base-level trim and goes up to

$54,580.41

          81.   Plaintiffs and putative class members would not have paid these prices

for Stall/Fire Risk Vehicles if they had known that the vehicles were not, in fact,

safe and reliable, that Ford’s purported “fix” would damage designed-in features to

prolong durability and safety and would result in reduced fuel efficiency, and

would be installed in the vehicle without the standard FEMV analysis performed

on all vehicle systems pre-sale.

D.        Ford’s Vehicle Warranties

          82.   Ford’s New Vehicle Limited Warranty for Model Years 2020-2023 of

the Ford Escape provides “bumper-to-bumper” coverage for 3 years/36,000 miles,

whichever comes first.42 Ford’s Powertrain Warranty for the Escape provides

coverage for 5 years/60,000 miles, whichever comes first.43 On information and

belief, this warranty coverage includes manufacturing issues like the Spontaneous

Stall/Fire Risk in the Stall/Fire Risk Vehicles.



     41
      Exhibit 23, 2023 Lincoln Corsair, Edmunds.com,
https://www.edmunds.com/lincoln/corsair.
   42
      Exhibit 8, Model Year 2020 Ford Escape brochure, at 16; Exhibit 9, Model
Year 2021 Ford Escape brochure, at 16; Exhibit 13, Model Year 2022 Ford Escape
brochure, at 16.
   43
      Exhibit 8, Model Year 2020 Ford Escape brochure, at 16; Exhibit 9, Model
Year 2021 Ford Escape brochure, at 16; Exhibit 13, Model Year 2022 Ford Escape
brochure, at 16.
                                         - 41 -
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        83.   Ford’s New Vehicle Limited Warranty for the Model Year 2022-2023

Ford Maverick provides “bumper-to-bumper” coverage for 3 years/36,000 miles,

whichever comes first.44 Ford’s Powertrain Warranty for the Maverick provides

coverage for 5 years/60,000 miles, whichever comes first.45 On information and

belief, this warranty coverage includes manufacturing issues like the Spontaneous

Stall/Fire Risk in the Stall/Fire Risk Vehicles.

        84.   Ford’s New Vehicle Limited Warranty for Model Years 2021-2023 of

the Lincoln Corsair provides “bumper-to-bumper” coverage for 4 years/50,000

miles, whichever comes first.46 Ford’s Powertrain Warranty for the Escape

provides coverage for 6 years/70,000 miles, whichever comes first.47 On

information and belief, this warranty coverage includes manufacturing issues like

the Spontaneous Stall/Fire Risk in the Stall/Fire Risk Vehicles.

        85.   Because the Stall/Fire Risk Vehicles are all Model Year 2020, 2021,

2022, or 2023 vehicles sold or leased to putative class members in the fall of 2019

or later,48 virtually all Stall/Fire Risk Vehicles—if not all of them, including


   44
      Exhibit 10, Model Year 2022 Ford Maverick brochure, at 16.
   45
      Id.
   46
      Exhibit 11, Model Year 2021 Lincoln Corsair brochure, at 11; Exhibit 12,
Model Year 2022 Lincoln Corsair brochure, at 14.
   47
      Exhibit 11, Model Year 2021 Lincoln Corsair brochure, at 11; Exhibit 12,
Model Year 2022 Lincoln Corsair brochure, at 14.
   48
      Exhibit 24, Joey Capparella, The 2020 Ford Escape Looks to Fill a Car-
Shaped Hole in the Lineup, CAR & DRIVER (April 2, 2019),
https://www.caranddriver.com/news/a26996233/2020-ford-escape-photos-info;
                                         - 42 -
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Plaintiffs’ vehicles—are still covered under Ford’s new vehicle and powertrain

warranties.

E.    The Spontaneous Stall/Fire Risk

      86.     The Stall/Fire Risk Vehicles have had, and have now, a dangerous

flaw in their engines that can cause internal components of the engine to literally

explode and pierce the outer skin of the engine assembly. The explosion causes the

engine to immediately stall and lose all power, and it causes flammable vapors and

fluids to be ejected from the engine, which can result in an engine fire. In a prior

recall of a subset of the Stall/Fire Risk Vehicles (Recall No. 22S10) for the same

engine manufacturing defect and risk, Ford estimated that 5% of the vehicle

population were affected. Without explanation, in the 22S47 recall Ford dropped

that level to 1%, but even if Ford’s estimate that this flaw affects just one percent

of the Stall/Fire Risk Vehicles is accurate (and Ford has offered no evidence to

suggest the number should not be 5% as it previously estimated), this means that

there are at least 1,250 Stall/Fire Risk Vehicles on the road with engines that will

explode, causing an immediate stall and loss of power, and ejecting flammable gas

and liquids through a block breach into the engine compartment.



Exhibit 25, 2022 Ford Maverick: Release Date & Key Features, BLUE SPRINGS
FORD, https://www.bluespringsford.com/research/maverick.htm; Exhibit 26, Brett
Foote, 2021 Lincoln Corsair Grand Touring PHEV Production Dates Revealed,
FORD AUTHORITY, Dec. 29, 2020, https://fordauthority.com/2020/12/2021-lincoln-
corsair-grand-touring-phev-production-dates-revealed.
                                        - 43 -
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        1.    The March 2022 Recall

        87.   Ford admitted in a safety recall notification to the National Highway

Traffic Safety Administration (“NHTSA”), NHTSA No. 22V-109, Manufacturer

Recall No. 22S10 (the “March 2022 Recall”), that crankshaft machining surface

finish issues in the engines of certain Ford Escape vehicles could cause engine

block breach.49

        88.   In that recall, Ford told customers:50

              On your vehicle, the crankshaft, located in the engine,
              may have an improperly polished bearing surface.
              Improper surface finish can cause excessive friction and
              heat, resulting in premature bearing wear and engine
              knocking noise. If the vehicle is driven in this condition,
              it will lead to bearing failure or a broken connecting rod
              that may result in an engine stall, significant engine oil
              loss, and fire, increasing the risk of crash and injury. If
              the engine on your vehicle is making noise, please take it
              to the dealer for diagnosis.




   49
      Exhibit 27, NHTSA Part 573 Safety Recall Report No. 22V-109 (Feb. 24,
2022), https://static.nhtsa.gov/odi/rcl/2022/RCLRPT-22V109-8795.PDF. See also
Exhibit 1, Letter to All U.S. Ford and Lincoln Dealers regarding Advance Notice
of Safety Recall 22S10 (Feb. 24, 2022), https://static.nhtsa.gov/odi/rcl/
2022/RCMN-22V109-4423.pdf; Exhibit 2, Letter to All U.S. Ford and Lincoln
Dealers regarding Supplement #1 to Advance Notice of Safety Recall 22S10 (May
17, 2022), https://static.nhtsa.gov/odi/rcl/2022/RCMN-22V109-4343.pdf; Exhibit
28, Safety Recall Notice 22S10, NHTSA Recall 22V109 (Mar. 2022),
https://static.nhtsa.gov/odi/rcl/2022/RCONL-22V109-7152.pdf.
   50
      Exhibit 28, Safety Recall Notice 22S10, NHTSA Recall 22V109 (Mar.
2022), https://static.nhtsa.gov/odi/rcl/2022/RCONL-22V109-7152.pdf.
                                         - 44 -
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        89.   Ford further explained in Safety Recall Notice 22S10 that:51

              Vehicles included in this action were built with an engine
              crankshaft that may not meet the surface specification
              due to a missing polishing operation. Improper surface
              finish can cause excessive friction and heat, resulting in
              premature bearing wear and engine noise. If the vehicle
              is driven in this condition, it will lead to bearing failure
              that may result in an engine stall, or broken connecting
              rod and potential engine breach, significant engine oil
              loss, and fire, increasing the risk of crash and injury.
              Plant records indicate that the suspect engine crankshafts
              have a surface finish that is potentially out of
              specification due to an emery lapping tape breakage that
              resulted in incomplete connecting rod journal #4
              polishing. The customer will experience engine noise.

        90.   In this initial recall, Ford estimated that 5% of the engines had the

defect.52

        91.   To address the issue of faulty manufacturing causing the potential for

blown engines causing spontaneous engine stalls and fires, Ford initiated an

inspection and replace protocol. Ford instructed dealers to remove the engine oil

pan, remove the #4 connecting rod cap, and inspect those connecting rod bearings

against a subjective instruction guide (Figure 4 and Figure 5).53


   51
      Exhibit 27, NHTSA Part 573 Safety Recall Report No. 22V-109 (February
24, 2022), https://static.nhtsa.gov/odi/rcl/2022/RCLRPT-22V109-8795.PDF
   52
      See Exhibit 27, NHTSA Part 573 Safety Recall Report No. 22V-109
(February 24, 2022), https://static.nhtsa.gov/odi/rcl/2022/RCLRPT-22V109-
8795.PDF.
   53
      See Exhibit 2, Letter to All U.S. Ford and Lincoln Dealers regarding
Supplement #1 to Advance Notice of Safety Recall 22S10 (May 17, 2022),
https://static.nhtsa.gov/odi/rcl/2022/RCMN-22V109-4343.pdf.
                                         - 45 -
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     Figure 4. Connecting rod bearing evaluation guide from recall 22s10




     Figure 5. Connecting rod bearing evaluation guide from recall 22s10

      92.    If the bearings passed subjective inspection, the dealer would

reassemble the engine and return the vehicle to the customer. If the bearings failed
                                       - 46 -
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inspection, then the engine was replaced with a new long block assembly. This

recall inspection procedure allowed 4.7 hours of labor charge plus parts for

inspecting an engine that resulted in a “pass.” With $100/hour labor charges, this

would be over $500 per vehicle inspection, including parts. “Failed” vehicles cost

significantly more to repair.54 This recall remedy addressed the root cause of

defective crankshaft journal surface finish damaging the connecting rod bearings.

That is, the recall would find defective engines and replace them rather than let

them fail and attempt to only mitigate one type of secondary failure (i.e., block

breach leading to a fire).

        2.    The July 2022 Recall

        93.   Ford admitted in a July 7, 2022 safety recall notification to NHTSA,

No. 22V-484 (the “July 2022 Recall”), that engine manufacturing issues resulting

engine block or oil pan breaches, combined with fluid dynamics induced by Ford’s

under engine shield and active grille shutter, have caused certain Stall/Fire Risk

Vehicles to catch on fire.55




   54
     See id.
   55
     Exhibit 3, National Highway Traffic Safety Administration, Part 573 Safety
Recall Report No. 22V-484 (July 7, 2022), https://static.nhtsa.gov/odi/rcl/2022/
RCLRPT-22V484-6430.PDF, at 3-4.
                                        - 47 -
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         94.    In the July 2022 Recall, Ford further admits that the issues in the

Stall/Fire Risk Vehicles can lead to “under hood fire, localized melting of

components, or smoke.”56

         95.    The July 2022 Recall affected 100,689 total vehicles, including all

Model Year 2020-2022 Ford Escapes built between January 19, 2019, and June 13,

2022; all Model Year 2022 Ford Mavericks built between February 3, 2021, and

June 8, 2022; and all Model Year 2021-2022 Lincoln Corsairs built between

October 24, 2019, and June 13, 2022.57 This population included all of the cars that

were subject to the March 2022 Recall, yet Ford made no mention of that recall or

drew any connection between the identical failure modes in both recalls. Moreover,

while in the March 2022 Recall Ford disclosed the dangerous stall risk that is

obviously present when an engine catastrophically fails and ejects components

through the block and oil pan, Ford made no mention of this risk in the July 2022

Recall, though it was obviously still present.

         96.    As of June 22, 2022, Ford reported 23 warranty and field reports

globally of under hood fire or smoke on 2.5L HEV/PHEV engines after a




   56
        See id. at 3.
   57
        See id. at 1-2.
                                           - 48 -
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suspected block or oil pan breach.58 The date range of identified reports is April 5,

2021, through May 19, 2022.59

        97.   Included in the 573 Report is Ford’s “Description of the Cause:

Isolated engine manufacturing issues have resulted in 2.5L HEV/PHEV engine

failures involving engine block or oil pan breach. The fluid dynamics induced by

the Under Engine Shield and Active Grille Shutter system could increase the

likelihood of engine oil and/or fuel vapor expelled during an engine block or oil

pan breach accumulating near sources of ignition, primarily expected to be the

exhaust system.”60

        98.   Thus, Ford admits that the Stall/Fire Risk Vehicles suffer from engine

manufacturing issues that can cause engine failures involving engine block or oil

pan breach. Ford has chosen its language to attempt to minimize the seriousness of

the issue. On information and belief, what is happening is that internal engine

components called connecting rods and bearings are coming apart and piercing the

metal shells of the engine block or oil pan, causing flammable vapors and liquids

to be ejected into the engine compartment. In layman’s terms, this is often referred

to as a blown engine. Importantly, this is exactly what was happening to the

engines subject to the March 2022 Recall, where Ford had its dealers visually


   58
      See id. at 4.
   59
      See id.
   60
      See id. at 3.
                                        - 49 -
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inspect the engines for evidence of imminent failure, and replace them when

warranted.

        99.   Ford instituted a “fix” in connection with the July 2022 recall, but that

“fix” was wholly silent as to the admittedly affected engine component. Ford left

the engines exactly as they are and were, and instead recalled the Stall/Fire Risk

Vehicles to drill holes into the under-engine shield and remove blinds from the

Active Grille Shutter to supposedly prevent oil and gas and vapors from pooling in

the engine compartment. This “fix” does not live up to its name because the

engines in the Stall/Fire Risk Vehicles were never even looked at for evidence of

the root cause of the failure, they were just as likely to blow up and eject parts and

flammable fluids and vapors after the “fix” as they were before.

        100. Why Ford became suddenly silent on the dangerous stall risk and

chose to institute a “fix” in the July 2022 Recall that never even caused the suspect

engines to be inspected for a defect can be answered only through discovery in this

case. But the huge difference in costs per vehicle between the legitimate recall and

repair of the March 2022 Recall and failed and dubious “fix” of the July 2022

Recall is hard to ignore. The inspect and replace protocol from the March 2022

Recall involved 4.7 hours of labor and parts, likely costing over $500 per vehicle.61


   61
      See Exhibit 2, Letter to All U.S. Ford and Lincoln Dealers regarding
Supplement #1 to Advance Notice of Safety Recall 22S10 (May 17, 2022),
https://static.nhtsa.gov/odi/rcl/2022/RCMN-22V109-4343.pdf.
                                         - 50 -
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In contrast, the dubious “fix” of the July 2023 Recall involved just 0.4 hours of

labor for the Ford Maverick ($40 per car), 1 hour for the Escape ($100 per car),

and 1.7 hours for the Corsair ($170 per car).62 If Ford were to implement its inspect

and replace protocol on the complete 125,000 car recall population, the cost to

Ford would be over $60 million. In contrast, the dubious “fix” it implemented that

makes no attempt to address the actual defect and instead sought only to avoid a

potential fire after an engine blew up would have only cost Ford about $10.6

million.63 Ford seems content to let its customers experience blown engines in

order to save $50 million in costs to actually inspect, locate, and replace the

engines before they fail.

        3.   The June 2023 Recall

        101. On June 5, 2023, Ford notified NHTSA of Recall No. 23V-380, which

“expands and replaces recall number 22V-484 (the “2023 Expanded Recall”).

Vehicles previously repaired under 22V-484 will need to have the new remedy

completed.”64 While the July 2022 recall, by design, did nothing to prevent a


   62
      See Exhibit 29, Supplement 2 to Letter to All U.S. Ford and Lincoln Dealers
regarding New Vehicle Demonstration/Delivery Hold, Safety Recall 22S47 (Aug.
10, 2022), https://static.nhtsa.gov/odi/rcl/2022/RCMN-22V484-8637.pdf.
   63
      Ford provided the number of each of the three affected models included in the
recall. Multiplying that number by the respective repair costs per model yields just
over $10.6 million total.
   64
      See Exhibit 6, Letter from NHTSA to Ford acknowledging Ford’s
notification of Recall No. 23V-380 (June 5, 2023), https://static.nhtsa.gov/odi/rcl/
2023/RCAK-23V380-9304.pdf.
                                        - 51 -
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blown engine, Ford now admits that the July 2022 Recall was also entirely

ineffective and did nothing to prevent the risk of fire in the Stall/Fire Risk Vehicles

that was caused by the blown engine.

        102. In the 2023 Expanded Recall, the 2022 Recall was expanded to

include 2023 model years of all three Stall/Fire Risk Vehicles, thus including

125,322 Model Year “2020-2023 Escape, 2022-23 Maverick, and 2021-2023

Corsair vehicles equipped with 2.5L HEV or PHEV engines.”65

        103. As to a remedy, Ford offers none. “Owners are advised to park and

shut off the engine as quickly as possible if they hear unexpected engine noises,

notice a reduction in vehicle power, or see smoke.”66

        104. On May 26, 2023, Ford submitted its Part 573 Safety Recall Report

for Recall No. 23V-380 (the “2023 Report”).67 The 2023 Report specifies that there

are 86,656 Ford Escape Hybrid (HEV) and Plug-in Hybrid (PHEV) vehicles,

35,501 Maverick Hybrid vehicles, and 3,165 Corsair Hybrid vehicles subject to the

2023 Expanded Recall.

        105. The 2023 Report also provides specificity concerning the issue which

suggest manufacturing defects in the engine itself are causing internal explosions


   65
       Id.
   66
       Id.
    67
       See Exhibit 7, National Highway Traffic Safety Administration, Part 573
Safety Recall Report No. 23V-380 (May 26, 2023), https://static.nhtsa.gov/odi/
rcl/2023/RCLRPT-23V380-2876.PDF.
                                        - 52 -
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that cause engine components called connecting rods to break and be ejected

through the engine block or oil pan with tremendous force. In the “23S47

Chronology” document submitted to NHTSA, Ford provides more detail regarding

the engine manufacturing issues were related to “crankshaft machining/finishing

operations” and “contamination introduced during engine assembly” resulting in

“engine failures resulting from a worn crankshaft bearing.”68

        106. In June 2023, Ford sent letters to all owners of Stall/Fire Risk

Vehicles to warn them of the dangerous defect in their vehicles. In these letters,

Ford specifies:

 What is the issue?        On your vehicle, the engine could fail prematurely. In
                           the event of an engine failure, significant quantities of
                           engine oil and/or fuel vapor may be released into the
                           under hood environment and may migrate to and/or
                           accumulate near ignition sources.

                           Engine failure is expected to produce loud noises
                           (example: metal-to-metal clank) audible to the vehicle’s
                           occupants. An engine failure will also result in a
                           reduction in available engine power.

 What is the risk?         Engine oil and/or fuel vapor that accumulates near a
                           combustible source may ignite, increasing the risk of a
                           fire.

 What will Lincoln     Lincoln is working closely with its suppliers to produce
 and your retailer do? parts for this repair. When parts become available,
                       Lincoln will notify you via mail to schedule a service
                       appointment with your retailer for repairs to be

   68
    Exhibit 30, 23S27 Chronology, https://static.nhtsa.gov/odi/rcl/2023/RMISC-
23V380-7289.pdf.
                                         - 53 -
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                           completed free of charge (parts and labor). Parts are
                           anticipated to be available by October 2023.

 What should you do? You should safely park and shut off the engine as
                     promptly as possible upon hearing unexpected engine
                     noises, after experiencing a reduction in available
                     engine power, or if smoke is observed emanating from
                     the engine compartment.69

        107. On information and belief, Ford failed to adequately research, design,

test, and manufacture the Stall/Fire Risk Vehicles before warranting, advertising,

promoting, marketing, and selling the Stall/Fire Risk Vehicles as suitable and safe

for use in an intended and reasonably foreseeable manner.

        108. On information and belief, Ford knew or should have known the

Stall/Fire Risk Vehicles contained the Spontaneous Stall/Fire Risk and should have

warned or disclosed this fact to Plaintiffs and putative class members before selling

or leasing the vehicles.

        4.    Permanent Damage Caused by the Failed 2022 Recall

        109. Ford tracked and reported repairs of the 155 vehicles involved in the

March 2022 Recall to NHTSA, but apparently did not notify NHTSA that this

crankshaft machining defect may be related to the larger recall for crankshaft

machining defects three months later under the July 2022 Recall, NHTSA Recall

No. 22V-484, Safety Recall No. 22S47, even though this defect occurred in the


   69
     See Exhibit 31, Safety Recall Notice 23S27, NHTSA Recall 23V380 (June
2023), https://static.nhtsa.gov/odi/rcl/2023/RIONL-23V380-7298.pdf.
                                        - 54 -
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same timeframe. It is possible the manufacturing defect in the March 2022 Recall,

Safety Recall 22S10, was not actually contained, but rather a subset of larger

crankshaft machining issues related to the subsequent July 2022 Recall, 22S47, and

2023 Recall, 23S27.

      110. Ford plainly knew that the “fix” it implemented with its July 2022

Recall would not resolve the engine manufacturing issue that was causing the

block breach and ejection of flammable fluids and vapors from the engines of the

Stall/Fire Risk Vehicles. It knew how it could detect that through the inspection

protocol it used in the March 2022 Recall, but elected not to. Apparently, Ford

hoped that by ejecting the flammable liquid and vapors onto roadways and into

garages, dangerous fires might be averted. But that was not the case. Ford itself

documented Stall/Fire Risk Vehicles suffering engine compartment fires even after

having had the repair associated with the July 2022 Recall completed.

      111. Ford also knew or should have known that the “fix” associated with

the July 2022 Recall would cause additional problems, including potential property

damage or personal injury from flammable fluids or vapors that escape from the

Stall/Fire Risk Vehicles, and that the “fix” would reduce the vehicles’ fuel

efficiency and engine component longevity. The 2022 Recall “fix” modified the

engine undershield and Active Grille Shutters in a way that increased aerodynamic

drag, reducing fuel economy. The engine undershield modification reduced the


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vehicles’ durability in resistance to corrosion, water splash, snow packing, mud

packing, and stone pecking. The Active Grille Shutter modification also reduced

windshield defroster and vehicle heater performance, as well as increased engine

emissions, in cold weather.

F.        Ford Knew Or Should Have Known Of The Spontaneous Stall/Fire Risk
          Before It Disclosed The Risk To Plaintiffs

          112. On information and belief, Ford knew or should have known about the

Spontaneous Stall/Fire Risk before the Stall/Fire Risk Vehicles went to market. At

the very least, Ford certainly knew of the Spontaneous Stall/Fire Risk well before

it issued its recall, as evidenced by: (1) the rigorous pre-launch testing of the

Stall/Fire Risk Vehicles; (2) the direct and public reports of fires or smoke in 23

Stall/Fire Risk Vehicles; (3) Ford’s own investigation of fires in the Stall/Fire Risk

Vehicles; and (4) the implementation of the March 2022 Recall.

          1.    Ford’s durability testing should have uncovered the Spontaneous
                Stall/Fire Risk.

          113. Ford claims to conduct comprehensive and rigorous testing on all its

vehicles, saying, “Ford’s comprehensive lineup of testing facilities around the

world puts vehicles through everything from the extreme, to the everyday, to

ensure that only world-class vehicles roll off the production line.”70




     70
     Exhibit 32, Testing in the Extremes: How Ford’s Multiple Testing Facilities
Push Vehicles to the Limit, October 7, 2019, FORD.COM, https://media.ford.com/
                                         - 56 -
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      114. According to Ford, at their facilities across Thailand, India, Australia,

the Middle East, and China, “Ford vehicles and components are ‘shaken, rattled

and rolled’ in a variety of tests, some conducted in temperatures ranging from an

arctic minus 40 degrees Celsius, to desert-scorching heat of over 50 degrees

Celsius.”71 These tests include stresses on the engines, moving parts, suspension,

and electrical components.72

      115. Ford even puts its vehicles through a Total Durability Cycle,

described by Ford as “sped-up evaluation runs around the clock, day and night, to

simulate 10 years, or 240,000km, of severe customer usage in just a few weeks.”73

“Gravel roads, cobblestones, pot-holes, curbs and water baths feature in this

grueling test” and, “[j]ust for good measure, environmental factors like dust, water

and mud are thrown in, while dynamometers simulate towing heavy loads in traffic

and over mountain passes.”74

      116. On information and belief, the Stall/Fire Risk Vehicles were put

through similar durability testing or were designed and built in accordance with the

findings of such durability testing. Indeed, as already described, Ford specifically



content/fordmedia/img/me/en/news/2019/10/07/testing-in-the-extremes--how-
fords-multiple-testing-facilities-p.html.
   71
      See id.
   72
      See id.
   73
      See id.
   74
      See id.
                                        - 57 -
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advertised to Maverick consumers with the promise that the Maverick pickup

architecture “has endured 19 million miles of customer equivalent durability

testing in the real world, lab and proving ground environments.”75 Ford further

explains that the pickup has “been tested in extreme weather, taken over off-road

durability tests, endured harsh chassis turning, and much more.”76 On information

and belief, the Ford Escape and Lincoln Corsair were put through equally stringent

testing.

        117. Based on such durability testing, Ford uncovered the Spontaneous

Stall/Fire Risk before the Stall/Fire Risk Vehicles were sold to Plaintiffs and

putative class members.

        2.    Ford knew about the Spontaneous Stall/Fire Risk from warranty
              claims for Stall/Fire Risk Vehicles and its own investigation.

        118. According to its recall chronology, an issue pertaining to 2.5L HEV

and PHEV under hood fires was brought to Ford’s Critical Concern Review Group

for review on May 4, 2022.77 During the Review Group’s analysis from May 4,

2022, through June 8, 2022, the Group included data from 19 field reports of under

hood fire or smoke for 2.5L HEV/PHEV vehicles.78




   75
      Exhibit 10, Model Year 2022 Ford Maverick brochure, at 10.
   76
      See id.
   77
      Exhibit 3.
   78
      Id.
                                        - 58 -
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        119. Ford’s investigation continued up until the July 7, 2022 recall and

uncovered four more reports of under hood smoke or fires in the Stall/Fire Risk

Vehicles.

        120. Ford did not disclose the dates of the 23 fires in the Stall/Fire Risk

Vehicles, but on information and belief, Ford learned of at least some of these fires

on or before the May 4, 2022 investigation launch.

        121. Moreover, it is obvious that at least the majority of the 2022 model

year and all of the 2023 model year Stall/Fire Risk Vehicles were all sold after

Ford knew of the Spontaneous Stall/Fire Risk, as the March 2022 Recall and July

2022 had already been issued at the time these vehicles were sold.

        122. All vehicle manufacturers, including Ford, also routinely monitor and

analyze NHTSA complaints to determine whether vehicles or components should

be recalled due to safety concerns. Thus, on information and belief, Ford has

knowledge of all NHTSA complaints filed concerning the vehicles it manufactures,

including the Stall/Fire Risk Vehicles.79

        123. Ford also receives complaints directly from consumers and its dealers,

and thus, on information and belief, has knowledge of all complaints lodged to it or

its agents regarding the Stall/Fire Risk Vehicles and the Spontaneous Stall/Fire




   79
        See TREAD Act, Pub. L. No. 106-414, 114 Stat. 1800 (2000).
                                         - 59 -
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Risk. At a minimum, Ford received complaints from many scared and angry

owners and lessees who learned about the Fire Defect.

         124. However, Ford has yet to address the manufacturing issues associated

with the 2.5L HEV/PHEV engines involving engine block or oil pan breach.

Instead, Ford has needlessly damaged every Stall/Fire Risk Vehicle that has had

the July 2022 Recall “fix” performed by directing that the under-engine shield and

Active Grille Shutter of Stall/Fire Risk Vehicles be modified in a failed attempts to

redirect and/or purge the engine compartment of the engine oil or fuel vapor.80

After the modifications were completed, Plaintiffs and class members were left

with vehicles that may still catch fire and they may now eject highly flammable oil

and vapors if their engines succumb to the manufacturing issues identified. And

Ford is not globally offering to buy back the vehicles or even provide loaner or

rental vehicles until it can actually fix the manufacturing problem. And though it

knows how to issue an inspect and replace recall that would actually resolve this

issue, Ford is choosing not to, likely because it will cost too much money.

         125. Because the Stall/Fire Risk Vehicles have engines with manufacturing

flaws that may cause the engines to blow up and eject flammable oil and vapors

and burst into flames, and Ford is not fixing this and has instead decreased the fuel

efficiency of the Stall/Fire Risk Vehicles and created the further risk that fluids and


   80
        Id. at 5.
                                        - 60 -
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vapors will leak into garages, roadways and the environment, all owners and

lessees of the Stall/Fire Risk Vehicles have suffered ascertainable loss.

G.        After Instituting The “Fix,” Ford Failed To Conduct New Mileage Tests
          To Ensure That Its Mileage Estimates Were Not Adversely Affected

          126. As described above, Ford knew that active grille shutters and

underbody shields reduce aerodynamic drag on its vehicles, improve fuel

efficiency.81 Therefore, in removing four blinds from the Stall/Fire Risk Vehicles’

Active Grille Shutters as part of the “fix,” Ford knew the vehicles’ estimated gas

mileage could be reduced. But despite this knowledge, Ford did not conduct new

mileage tests to ensure that the mileage estimates it reported to the Environmental

Protection Agency (“EPA”) were accurate, as it was required to do.82

          127. The potential impact on mileage of removing active grille shutter

blinds has not been lost on consumers. For instance, one Stall/Fire Risk Vehicle

owner posted in a Maverick forum, “I’m NOT OK with removing blinds from the

active grill shutters. They are there for a reason. Specifically, the AGS reduces

emissions and improves aerodynamics. Is there really no other solution to this



     81
       Exhibit 14, Active Grille Shutter, Ford, https://www.ford.com.au/
technology/active-grill-shutter (last accessed Oct. 7, 2022).
    82
       The EPA “requires auto manufacturers to change or update their MPG (miles
per gallon) values on fuel economy labels (window stickers) if information comes
to light that show that the values are too high.” Exhibit 33, Data on Cars Used for
Testing Fuel Economy, EPA, https://www.epa.gov/compliance-and-fuel-economy-
data/data-cars-used-testing-fuel-economy (last accessed Oct. 7, 2022).
                                         - 61 -
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problem?!?!”83 Another user asks whether this fix “is the best they can do or is it

the quickest and cheapest????”84 And a user in a separate thread asked, “Has

anyone felt like their highway miles has taken a hit after this? I don’t have enough

data to tell, so I’m not sure if it’s the heat, or this recall. But I feel like I’m down 3-

4 MPG on the highway.”85

        128. By failing to conduct new mileage tests to ensure that the touted

mileage of the Stall/Fire Risk Vehicles remains accurate even after the “fix,” Ford

is actively concealing information from class members, including Plaintiffs, about

the actual fuel efficiency of their Stall/Fire Risk Vehicles.




   83
      Exhibit 34, New Maverick Recall: 2.5 Hybrid Engine Fire Hazard [Updated
w/ Safety Recall Notice to Dealers], Maverick Truck Club, at online forum
comment #51 (July 8, 2022), https://www.mavericktruckclub.com/forum/
threads/new-maverick-recall-2-5-hybrid-engine-fire-hazard-updated-w-safety-
recall-notice-to-dealers.17459/page-4.
   84
      Exhibit 35, New Maverick Recall: 2.5 Hybrid Engine Fire Hazard [Updated
w/ Safety Recall Notice to Dealers], Maverick Truck Club, at online forum
comment #80 (July 8, 2022), https://www.mavericktruckclub.com/forum/
threads/new-maverick-recall-2-5-hybrid-engine-fire-hazard-updated-w-safety-
recall-notice-to-dealers.17459/page-6.
   85
      Exhibit 36, New Maverick Recall: 2.5 Hybrid Engine Fire Hazard [Updated
w/ Safety Recall Notice to Dealers], Maverick Truck Club, at online forum
comment #63 (Sept. 2, 2022), https://www.mavericktruckclub.com/forum/
threads/2022-maverick-hybrid-safety-recall-engine-oil-fuel-vapor-may-leak-in-
event-of-engine-failure-recall-22s47-nhtsa-recall-22v484.19340/page-5.
                                          - 62 -
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H.        After Instituting The “Fix,” Ford Failed To Conduct Tests To Ensure
          That Durability And Longevity Were Not Adversely Affected By The
          Perforated Engine Undershield

          129. Ford knew that the engine undershield reduces environmental wear

and tear on the engine compartment. The engine undershield is designed to provide

aerodynamic drag reduction as well as protect the engine and powertrain from road

debris, snow packing, corrosive salt spray, and road splash. The engine undershield

is part of an integrated system of body shields and air deflectors, as illustrated in

the service parts diagram for a Ford Escape (the engine undershield is part “6775,”

in green).86 Ford would have completed extensive vehicle durability testing

protocols for corrosion testing, snow packing, stone pecking, mud bath, high-

pressure spray, and road water splash, as well as vehicle noise acceptance testing

for the Ford Escape, Ford Maverick, and Lincoln Corsair with the engine

undershield in place, as designed. Ford advertises their vehicle quality




     86
      Exhibit 37, Radiator Support Splash Shield, Part 6775, Fordparts.com,
https://parts.ford.com/shop/en/us/body/other-body-related-parts-front/radiator-
support-splash-shield-engine-compartment-splash-shield-fwd-front-lower-p-
lx6z6775s?pdp=y#/sectionId:190132118.
                                         - 63 -
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improvements using these types of durability tests.87,88,89 Ford did not conduct

subsequent durability tests to assess the negative impact on vehicle durability and

operation (noise) with a modified engine undershield.




   87
      Exhibit 38, “Robotic Butts, High-Pressure Car Washes and Gravel-Testing
Show MustangMach-E Stands Up to Wear and Tear,” Ford.com (Aug. 13, 2021),
https://media.ford.com/content/fordmedia/feu/en/news/2021/08/13/robotic-butts--
high-pressure-car-washes-and-gravel-testing-show-.html.
   88
      Exhibit 39, “From Acid Baths to Power Hop Hill, 10 Ways Ford Torture-
Tested the 2015 F-150,” Ford.com (Apr. 9, 2014), https://media.ford.com/
content/fordmedia/fna/us/en/news/2014/04/09/10-ways-ford-torture-tested-the-
2015-F150.html.
   89
      Exhibit 40, LommelProvingGround, Fordlpg.com, https://www.fordlpg
.com/en/indexjs.htm?page=main_fac_dur.htm (last accessed Aug. 8, 2023).
                                        - 64 -
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I.    Class Members Could Have Been Made Aware Of The Spontaneous
      Stall/Fire Risk At The Point Of Sale

      130. Plaintiffs and all putative class members were necessarily exposed to

Ford’s omissions before purchasing the Stall/Fire Risk Vehicles because they each

interacted with an authorized Ford dealer at the point of sale. These dealers could

have disclosed the omitted information to each class member, but they failed to do

so. As a district court affirmed in another consumer class action case against Ford,

all class members in that case would have “been aware of a disclosure” from Ford

about the defect at the point of sale because class members “interact[ed] with an

authorized Ford dealer prior to purchase.” Daniel v. Ford Motor Co., 2016 WL

8077932, at *8 (E.D. Cal. Sept. 23, 2016). The same is true here.

           VI.   TOLLING OF THE STATUTE OF LIMITATIONS

A.    Discovery Rule Tolling

      131. Because Ford (i) omitted the existence of the Spontaneous Stall/Fire

Risk and (ii) omitted the fact that the July 2022 Recall repair does not fix the

manufacturing flaw and instead creates additional risks and reduces fuel efficiency,

class members had no way of knowing about the potential danger of the Stall/Fire

Risk Vehicles and the lack of a bona fide repair during the recall.

      132. Within the period of any applicable statutes of limitation, Plaintiffs

and members of the proposed classes could not have discovered through the

exercise of reasonable diligence that Ford was not revealing the existence of the

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Spontaneous Stall/Fire Risk complained of herein and not repairing it during the

recall.

          133. Plaintiffs and putative class members did not discover, and did not

know of, facts that would have caused a reasonable person to suspect that Ford did

not report information within its knowledge to federal and state authorities, its

dealerships, or consumers; nor would a reasonable and diligent investigation have

disclosed that Ford had omitted information about the unreasonable fire risk of the

Stall/Fire Risk Vehicles, which was discovered by Plaintiffs only shortly before

this action was filed.

          134. For these reasons, all applicable statutes of limitation have been tolled

by operation of the discovery rule with respect to claims as to the Stall/Fire Risk

Vehicles.

B.        Estoppel

          135. Ford was under a continuous duty to disclose to Plaintiffs and putative

class members the true character, quality, and nature of the fire risk of the

Stall/Fire Risk Vehicles.

          136. Ford knowingly, affirmatively, and actively concealed or recklessly

disregarded the true nature, quality, and character of the fire risk of the Stall/Fire

Risk Vehicles and it knowingly, affirmatively, and actively concealed or recklessly




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disregarded the true nature, quality, and character of the repair it was performing

under the recall of the Stall/Fire Risk Vehicles.

      137. Based on the foregoing, Ford is estopped from relying on any statutes

of limitations in defense of this action.

                          VII. CLASS ALLEGATIONS

      138. Plaintiffs bring this action on behalf of themselves and as a class

action, pursuant to the provisions of Rules 23(a) and (b)(3) of the Federal Rules of

Civil Procedure, on behalf of the following Class and Subclasses:

             Nationwide Class: All persons or entities who purchased
             or leased model year 2020-2023 Ford Escape, 2022-2023
             Ford Maverick, or 2021-2023 Lincoln Corsair vehicles
             (the “Stall/Fire Risk Vehicles”).

             California Subclass: All persons or entities who
             purchased or leased one or more of the Stall/Fire Risk
             Vehicles in the State of California.

             Arizona Subclass: All persons or entities who purchased
             or leased one or more of the Stall/Fire Risk Vehicles in
             the State of Arizona.

             Missouri Subclass: All persons or entities who
             purchased or leased one or more of the Stall/Fire Risk
             Vehicles in the State of Missouri.

             Nebraska Subclass: All persons or entities who
             purchased or leased one or more of the Stall/Fire Risk
             Vehicles in the State of Nebraska.

             Wisconsin Subclass: All persons or entities who
             purchased or leased one or more of the Stall/Fire Risk
             Vehicles in the State of Wisconsin.

      139. Plaintiffs assert claims under the laws of each state set forth below.
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      140.   Excluded from the definitions of each Class and Subclass are any

personal injury or property damages claims resulting from the fires or explosions

caused by the Stall/Fire Risk Vehicles, as well as any personal injury or property

damages claims resulting from fluid or vapor that is ejected from a Stall/Fire Risk

Vehicle. Also excluded from the Class and Subclasses are Ford and its subsidiaries

and affiliates; all persons who make a timely election to be excluded from this

action; governmental entities; the Judge to whom this case is assigned and his/her

immediate family; and Plaintiffs’ Counsel. Plaintiffs reserve the right to revise the

Class and Subclass definitions based upon information learned through discovery.

      141. Certification of Plaintiffs’ claims for class-wide treatment is

appropriate because Plaintiffs can prove the elements of their claims on a class-

wide basis using the same evidence as would be used to prove those elements in

individual actions alleging the same claim.

      142. This action has been brought and may be properly maintained on

behalf of the Class and Subclasses proposed herein under Federal Rule of Civil

Procedure 23.

      143. Numerosity. Federal Rule of Civil Procedure 23(a)(1): The members

of the Class and Subclasses are so numerous and geographically dispersed that

individual joinder of all class members is impracticable. For purposes of this

complaint, Plaintiffs allege that there are estimated to be at least 125,322 or more


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Stall/Fire Risk Vehicles in the Nationwide Class. The precise number of Class and

Subclass members is unknown to Plaintiffs but may be ascertained from Ford’s

books and records. Class and Subclass members may be notified of the pendency

of this action by recognized, Court-approved notice dissemination methods, which

may include U.S. Mail, electronic mail, Internet postings, and published notice.

      144. Commonality and Predominance: Federal Rules of Civil Procedure

23(a)(2) and 23(b)(3): This action involves common questions of law and fact,

which predominate over any questions affecting individual Class and Subclass

members, including, without limitation:

            a.     Whether Ford engaged in the conduct alleged herein;

            b.     Whether the Spontaneous Stall/Fire Risk creates an
                   unreasonable risk of fires in the Stall/Fire Risk Vehicles;

            c.     When Ford first knew about the Spontaneous Stall/Fire Risk;

            d.     Whether Ford designed, manufactured, marketed, and
                   distributed the Stall/Fire Risk Vehicles with manufacturing
                   flaws or defective component(s) that cause the engines to blow
                   up and eject components through the block and oil pan, which
                   can lead to under hood fire;

            e.     Whether the July 2022 recall and “fix” degraded the efficiency
                   and durability of the Stall/Fire Risk Vehicles;

            f.     Whether Ford’s conduct renders it liable for breach of the
                   implied warranty of merchantability;

            g.     Whether Ford has been unjustly enriched at the expense of
                   Plaintiffs and the Class and Subclasses;

            h.     Whether Plaintiffs and the other Class and Subclass members
                   overpaid for their vehicles at the point of sale; and
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             i.     Whether Plaintiffs and the other Class and Subclass members
                    are entitled to damages and other monetary relief and, if so, in
                    what amount.

      145. Typicality: Federal Rule of Civil Procedure 23(a)(3): Plaintiffs’

claims are typical of the other Class and Subclass members’ claims because,

among other things, all Class and Subclass members were comparably injured

through Ford’s wrongful conduct as described above.

      146. Adequacy: Federal Rule of Civil Procedure 23(a)(4): Plaintiffs are

adequate class representatives because their interests do not conflict with the

interests of the other members of the Class and Subclasses they seek to represent;

Plaintiffs have retained counsel competent and experienced in complex class action

litigation; and Plaintiffs intend to prosecute this action vigorously. The interests of

the Class and Subclasses will be fairly and adequately protected by Plaintiffs and

their counsel.

      147. Superiority: Federal Rule of Civil Procedure 23(b)(3): A class action

is superior to any other available means for the fair and efficient adjudication of

this controversy, and no unusual difficulties are likely to be encountered in the

management of this class action. The damages or other financial detriment suffered

by Plaintiffs and the other Class and Subclass members are relatively small

compared to the burden and expense that would be required to individually litigate

their claims against Ford, so it would be impracticable for the members of the


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Class and Subclasses to individually seek redress for Ford’s wrongful conduct.

Even if Class and Subclass members could afford individual litigation, the court

system could not. Individualized litigation creates a potential for inconsistent or

contradictory judgments and increases the delay and expense to all parties and the

court system. By contrast, the class action device presents far fewer management

difficulties and provides the benefits of single adjudication, economy of scale, and

comprehensive supervision by a single court.

                                  VIII. CLAIMS

A.    Nationwide Claims

                           COUNT I
       VIOLATION OF THE MAGNUSON-MOSS WARRANTY ACT
                     (15 U.S.C. § 2301, et seq.)

          (Alleged by all Plaintiffs on behalf of the Nationwide Class)

      148. Plaintiffs re-allege and incorporate by reference all paragraphs as

though fully set forth herein.

      149. Plaintiffs bring this claim on behalf of the Nationwide Class.

      150. This Court has jurisdiction to decide claims brought under 15 U.S.C.

§ 2301 by virtue of 28 U.S.C. § 1332(a)-(d).

      151. The Stall/Fire Risk Vehicles are “consumer products” within the

meaning of the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(3). Plaintiffs and

Nationwide Class members are consumers because they are persons entitled under



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applicable state law to enforce against the warrantor the obligations of its implied

warranties.

      152. Ford is a “supplier” and “warrantor” within the meaning of the

Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(4)-(5).

      153. 15 U.S.C. § 2301(d)(1) provides a cause of action for any consumer

who is damaged by the failure of a warrantor to comply with an implied warranty.

      154. Ford provided Plaintiffs and Nationwide Class members with an

implied warranty of merchantability in connection with the purchase or lease of

their vehicles that is an “implied warranty” within the meaning of the Magnuson-

Moss Warranty Act, 15 U.S.C. § 2301(7). As a part of the implied warranty of

merchantability, Ford warranted that the Stall/Fire Risk Vehicles were fit for their

ordinary purpose and would pass without objection in the trade as designed,

manufactured, and marketed, and were adequately contained, packaged, and

labeled.

      155. Ford breached its implied warranties, as described herein, and is

therefore liable to Plaintiffs and Nationwide Class members under 15 U.S.C.

§ 2310(d)(1). Without limitation, the Stall/Fire Risk Vehicles share a common

defect in that they all suffer from an engine manufacturing defect that can cause

the engines to blow up and stall, and expel flammable liquids and vapors, which

can result in fire, causing an unreasonable risk of death, serious bodily harm, and


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property damage to owners and lessees of the Stall/Fire Risk Vehicles, as well as

an unreasonable risk of damage and harm to their homes or other nearby property,

passengers, and bystanders. The Spontaneous Stall/Fire Risk renders the Stall/Fire

Risk Vehicles unmerchantable and unfit for their ordinary use of driving when they

were sold or leased, and at all times thereafter.

      156. As discussed herein, on information and belief, Ford knew or should

have known about the Spontaneous Stall/Fire Risk from its own durability testing

of the Stall/Fire Risk Vehicles before launching the Stall/Fire Risk Vehicles. Ford

omitted information about the engine defect and its consequences from Plaintiffs

and class members, misrepresented the qualities of the Stall/Fire Risk Vehicles,

and has failed to provide a fix for the engine defect.

      157. Ford further breached its implied warranties, as described herein, and

is therefore liable to Plaintiffs and Nationwide Class members under 15 U.S.C.

§ 2310(d)(1) because it implemented a recall and “repair” that did not actually

repair the Spontaneous Stall/Fire Risk and instead degraded the fuel efficiency and

durability of the Stall/Fire Risk Vehicles and created further risks and hazards from

leaking oil and vapor, causing an unreasonable risk of death, serious bodily harm,

and property damage to owners and lessees of the Stall/Fire Risk Vehicles, as well

as an unreasonable risk of damage and harm to their homes or other nearby

property, passengers, and bystanders. The deceptive nature of the repair issued by


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Ford to address the Spontaneous Stall/Fire Risk rendered the Stall/Fire Risk

Vehicles unmerchantable and unfit for their ordinary use of driving when they

were sold or leased, and at all times thereafter.

      158. As discussed herein, Ford knew at the time it issued the recall and

repair that the repair would not address the manufacturing defect in the Stall/Fire

Risk Vehicles. Ford also knew how to properly address the defective engine

manufacturing by having its dealers inspect the engines for signs of the defect and

replace the engines, if warranted. Likely because an inspect and repair recall would

have cost Ford 5-10 times more than the dubious “fix” it issued in July 2022, Ford

chose not address the actual engine defect at all. Ford omitted information about

the recall repair and its consequences from Plaintiffs and class members,

misrepresented the qualities of the recall and repair of the Stall/Fire Risk Vehicles,

and has failed to provide a fix for the manufacturing defect.

      159. Ultimately, Ford was forced to admit that its July 2022 Recall “fix”

was entirely ineffective at mitigating the risk of Stall (by design, since it ignored

this risk) and was also ineffective at preventing blown engines in the Stall/Fire

Risk Vehicles from causing under hood fires. Ford has expanded and replaced the

July 2022 Recall, but it does not offer any repair or fix for the over 125,000

Stall/Fire Risk Vehicles that it has sold with this dangerous defect.




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      160. Any effort by Ford to limit the implied warranties in a manner that

would exclude coverage of the Stall/Fire Risk Vehicles is unconscionable, and any

such effort to disclaim or otherwise limit such liability is null and void.

      161. Any limitations Ford might seek to impose on its warranties are

procedurally unconscionable. There was unequal bargaining power between Ford

and Plaintiffs, because, at the time of purchase and lease, Plaintiffs had no other

options for purchasing warranty coverage other than directly from Ford.

      162. Any limitations Ford might seek to impose on its warranties are

substantively unconscionable. Ford knew or should have known that the Stall/Fire

Risk Vehicles were defective and that the Stall/Fire Risk Vehicles had engines that

could prematurely fail and blow up, causing stalls and could catch on fire when

used as intended. And Ford knew this long before Plaintiffs and class members

knew or should have known. Ford further knew that the recall repair it deployed

did not actually mitigate or fix the manufacturing defect that results in the

Spontaneous Stall/Fire Risk. Ford failed to disclose this risk to Plaintiffs and class

members. Thus, enforcement of the durational limitations on the warranties is

harsh and would shock the conscience.

      163. Plaintiffs have had sufficient direct dealings with either Ford or its

agents (dealerships) to establish privity of contract between Ford and Plaintiffs.

Nonetheless, privity is not required here because Plaintiffs are an intended third-


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party beneficiary of contracts between Ford and its dealers, and specifically, of

Ford’s implied warranties. The dealers were not intended to be the ultimate

consumers of the Stall/Fire Risk Vehicles and have no rights under the warranty

agreements provided with the Stall/Fire Risk Vehicles; the warranty agreements

were designed for and intended to benefit consumers. Finally, privity is also not

required because the Stall/Fire Risk Vehicles are dangerous instrumentalities due

to the Spontaneous Stall/Fire Risk, as under hood smoke and fires present an

unreasonable risk of death, serious bodily harm, and property damage to owners

and lessees of the Stall/Fire Risk Vehicles.

      164. Pursuant to 15 U.S.C. § 2310(e), Plaintiffs are entitled to bring this

class action and are not required to give Ford notice and an opportunity to cure

until such time as the Court determines the representative capacity of Plaintiffs

under Rule 23 of the Federal Rules of Civil Procedure. However, Plaintiffs have, in

fact sent multiple demand letters to Ford describing this defect and demanding a

bona fide repair.

      165. Plaintiffs would suffer economic hardship if they returned their

Stall/Fire Risk Vehicles but did not receive the return of all payments made by

them. Because Ford will not acknowledge any revocation of acceptance and

immediately return any payments made, Plaintiffs have not re-accepted their

Stall/Fire Risk Vehicles by retaining them.


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      166. The amount in controversy of Plaintiffs’ individual claims meets or

exceeds the sum of $25. The amount in controversy of this action exceeds the sum

of $50,000, exclusive of interest and costs, computed based on all claims to be

determined in this lawsuit. Plaintiffs, individually and on behalf of all other

Nationwide Class members, seek all damages permitted by law, including

diminution in value of the Stall/Fire Risk Vehicles, in an amount to be proven at

trial. In addition, under 15 U.S.C. § 2310(d)(2), Plaintiffs are entitled to recover a

sum equal to the aggregate amount of costs and expenses (including attorneys’ fees

based on actual time expended) determined by the Court to have reasonably been

incurred by Plaintiffs and Nationwide Class members in connection with the

commencement and prosecution of this action.

      167. Plaintiffs also seek the establishment of a Ford-funded program for

Plaintiffs and Nationwide Class members to recover out-of-pocket costs incurred

in attempting to rectify and mitigate the effects of the Spontaneous Stall/Fire Risk

in their Stall/Fire Risk Vehicles.

                                     COUNT II

                        FRAUDULENT CONCEALMENT
                              (Common Law)

          (Alleged by all Plaintiffs on behalf of the Nationwide Class)

      168. Plaintiffs reallege and incorporate by reference all paragraphs as

though fully set forth herein.

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      169. Plaintiffs assert this claim on behalf of themselves and the Nationwide

Class, or, in the alternative, on behalf of the State-specific Subclasses.

      170. A nationwide class is appropriate because the elements of a fraudulent

concealment (or “fraud by concealment”) claim are virtually identical in all states.

In all states, Plaintiffs can prevail by showing that: (i) Ford had a duty to disclose

material facts in connection with the sale or lease of the Stall/Fire Risk Vehicles;

(ii) Ford either (a) knowingly made a false representation concerning material

information in connection with the sale or lease of the Stall/Fire Risk Vehicles;

(b) knowingly concealed material information in connection with the sale or lease

of the Stall/Fire Risk Vehicles; (c) knowingly failed to disclose material

information in connection with the sale or lease of the Stall/Fire Risk Vehicles; or

(d) failed to disclose material information concerning the recall repair for the

Spontaneous Stall/Fire Risk; and (iii) as a result of Ford’s conduct, Plaintiffs

suffered economic damages.

      171. Ford concealed and suppressed material facts concerning the serious

safety issues with Plaintiffs’ vehicles. Ford concealed and suppressed material

facts concerning the recall repair of Plaintiffs’ vehicles.

      172. Ford sold the Stall/Fire Risk Vehicles to Plaintiffs without disclosing

the Spontaneous Stall/Fire Risk and concealed and suppressed the risk from

regulators and consumers.


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      173. Ford concealed and suppressed the Spontaneous Stall/Fire Risk with

the intent to deceive Plaintiffs.

      174. Ford did so in order to falsely assure purchasers, lessees, and owners

of the Stall/Fire Risk Vehicles that the vehicles they were purchasing or leasing

were safe and reliable and would live up to the performance characteristics

associated with the Ford brand, and then to avoid the cost and negative publicity of

a recall. The concealed information was material to consumers, both because it

concerned the quality, safety, and performance of the Stall/Fire Risk Vehicles and

because the information would have significantly decreased the value and sales

price of the vehicles.

      175. Ford had a duty to disclose the Spontaneous Stall/Fire Risk because it

was known and only knowable by Ford; Ford had superior knowledge and access

to the facts; and Ford knew the facts were not known to, or reasonably

discoverable by, Plaintiffs. Ford also had a duty to disclose because it made many

affirmative representations about the safety, high performance, and quality of the

Stall/Fire Risk Vehicles, as set forth above; these representations were misleading,

deceptive, and incomplete without the disclosure of the Spontaneous Stall/Fire

Risk. Ford also had a duty to disclose that the Stall/Fire Risk could cause engines

to suddenly stall and lose power, putting vehicle occupants in grave danger of an

accident. And it had a duty to disclose that this stall danger was not addressed at all


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by the recall repair that it issued in July 2022. Finally, once the Stall/Fire Risk

Vehicles were on the road, Ford had a duty to monitor the Stall/Fire Risk Vehicles

under the TREAD Act and implementing regulations, including the duty to

promptly notify consumers of known safety defects.

      176. Ford concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt Ford’s image and cost

Ford money, and it did so at the expense of Plaintiffs and the Nationwide Class.

      177. On information and belief, Ford has still not made full and adequate

disclosure and continues to defraud Plaintiffs and the Nationwide Class and

conceal material information regarding the Spontaneous Stall/Fire Risk. This is

especially true in the context of Ford’s purported “fix” from its July 2022 Recall,

which did not actually inspect or fix the defective engines but sought (and failed)

only to mitigate the risk of an under hood fire after the Stall/Fire Risk Vehicle

suffered a blown engine, while reducing the vehicle’s fuel efficiency and

durability.

      178. Plaintiffs were unaware of these omitted material facts and would

have acted differently if they had known of the concealed and/or suppressed facts.

If Plaintiffs knew of the Spontaneous Stall/Fire Risk and of Ford’s proposed “fix,”

they would not have purchased their Stall/Fire Risk Vehicles or would have paid

less for them. Plaintiffs’ actions at the time they purchased their Stall/Fire Risk


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Vehicles were justified because Ford was in exclusive control of the material facts

and such facts were not known to the public, including Plaintiffs.

       179. Because of the concealment and/or suppression of the facts, Plaintiffs

and other class members sustained damage. In purchasing their Stall/Fire Risk

Vehicles, Plaintiffs did not get the benefit of their bargain since the vehicles were

worth less than they would have been without the Spontaneous Stall/Fire Risk, and

because they own vehicles that have diminished in value as a result of Ford’s

concealment of, and failure to timely disclose and remedy, the Spontaneous

Stall/Fire Risk and the nature of the July 2022 Recall “fix”, which fixed nothing

and instead degraded fuel efficiency and durability of the Stall/Fire Risk Vehicles.

Those Nationwide Class members who sold their dangerous Stall/Fire Risk

Vehicles at a substantial loss have also suffered quantifiable damages, as will all

those who sell between now and the time Ford implements an adequate recall

repair (if it ever does).

       180. Accordingly, Ford is liable to Plaintiffs and the Nationwide Class for

damages in an amount to be proven at trial.

       181. Ford’s acts were done maliciously, oppressively, deliberately, with

intent to defraud, and in reckless disregard of Plaintiffs’ and class members’ rights

and well-being in order to enrich Ford. Ford’s conduct warrants an assessment of




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punitive damages in an amount sufficient to deter such conduct in the future, which

amount is to be determined according to proof.

                                    COUNT III

                             UNJUST ENRICHMENT
                                (Common Law)

          (Alleged by all Plaintiffs on behalf of the Nationwide Class)

      182. Plaintiffs reallege and incorporate by reference all paragraphs as

though fully set forth herein.

      183. Plaintiffs assert this claim on behalf of themselves and the Nationwide

Class, or, in the alternative, on behalf of the State Subclasses. A Nationwide Class

is appropriate because the elements of unjust enrichment are uniform in all states.

      184. This claim is pleaded in the alternative to the contract-based claims

brought on behalf of Plaintiffs and the Nationwide Class.

      185. Ford has received and retained a benefit from Plaintiffs and

Nationwide Class members and inequity has resulted.

      186. Ford has benefitted from selling, leasing, and distributing the

Stall/Fire Risk Vehicles for more than they were worth because of Ford’s conduct

described herein, at a profit, and Plaintiffs and class members have overpaid for the

Stall/Fire Risk Vehicles and been forced to pay other costs.

      187. Ford has also benefitted from purposefully avoiding the cost

associated with actually inspecting the engines in the Stall/Fire Risk Vehicles to

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determine which have the manufacturing defect that causes blown engines, and

replacing them. Plaintiffs and Nationwide Class members bear the costs of Ford’s

avoidance as they are forced to wonder whether their engine is one that will blow

up, because Ford refuses to spend the approximately $60 million it will cost to

inspect all of the Stall/Fire Risk Vehicles.

      188. Thus, Plaintiffs and the Nationwide Class conferred a benefit on Ford.

      189. It is inequitable for Ford to retain these benefits.

      190. Plaintiffs and Nationwide Class members were not aware of the true

facts about the Stall/Fire Risk Vehicles and did not benefit from Ford’s conduct

described herein.

      191. Ford knowingly accepted the benefits of its unjust conduct.

      192. As a result of Ford’s conduct, the amount of its unjust enrichment

should be determined in an amount according to proof.




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B.     State-Specific Claims

       1.     California

                                      COUNT IV

                      VIOLATION OF THE CALIFORNIA
                     CONSUMER LEGAL REMEDIES ACT
                         (Cal. Civ. Code § 1750, et seq.)

       (Alleged by Plaintiff Nishon on behalf of the California Subclass)

       193. Plaintiff Nishon (“Plaintiff” for the purposes of this claim) and the

California Subclass reallege and incorporate by reference all paragraphs as though

fully set forth herein.

       194. Plaintiff brings this claim on behalf of himself and the California

Subclass.

       195. Ford is a “person” as defined in California Civil Code § 1761(c).

       196. Plaintiff and California Subclass members are “consumers” as defined

in California Civil Code § 1761(d).

       197. Ford engaged in unfair and deceptive acts in violation of the

California Consumer Legal Remedies Act (“CLRA”) through the practices

described herein, and by omitting the true facts about Spontaneous Stall/Fire Risk

and misrepresenting and misleading Plaintiff and the California Subclass about the

Stall/Fire Risk Vehicles, along with omitting the risks, costs, and monetary damage

resulting from the Spontaneous Stall/Fire Risk and the inadequate recall repair.

These acts and practices violate, at a minimum, the following sections of the

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CLRA: (a)(2) misrepresenting the source, sponsorship, approval, or certification of

goods or services; (a)(5) representing that goods or services have sponsorships,

characteristics, uses, benefits, or quantities which they do not have, or that a person

has a sponsorship, approval, status, affiliation, or connection which they do not

have; (a)(7) representing that goods or services are of a particular standard, quality,

or grade, or that goods are of a particular style or model, if they are of another; and

(a)(9) advertising goods and services with the intent not to sell them as advertised.

      198. Ford’s unfair and deceptive acts or practices occurred repeatedly in its

trade or business, were capable of misleading a substantial portion of the

purchasing public and imposed a serious safety risk on the public.

      199. Ford knew or should have known that its conduct violated the CLRA.

      200. Ford knew or should have known about the Spontaneous Stall/Fire

Risk affecting the Stall/Fire Risk Vehicles owned or leased by Plaintiff and

California Subclass members based on (i) its own pre-sale durability testing;

(ii) the direct and public reports of fires or smoke in 23 Stall/Fire Risk Vehicles;

and (iii) Ford’s own investigation of fires in the Stall/Fire Risk Vehicles.

      201. Ford knew that the recall repair it implemented did nothing to address

the manufacturing flaw that causes the Spontaneous Stall/Fire Risk affecting the

Stall/Fire Risk Vehicles owned or leased by Plaintiff and California Subclass

members.


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      202. In the course of its business, Ford violated the CLRA and engaged in

deceptive acts or practices with the marketing and sale or lease of the Stall/Fire

Risk Vehicles because it misrepresented and omitted material facts concerning the

Stall/Fire Risk Vehicles, specifically the existence of the Spontaneous Stall/Fire

Risk, as alleged herein. Ford omitted the fact of the Spontaneous Stall/Fire Risk

from Plaintiff and the California Subclass members. Ford also mispresented the

safety, quality, functionality, and reliability of the Stall/Fire Risk Vehicles given

the existence of the Spontaneous Stall/Fire Risk in them. Ford also misrepresented

the efficacy and effectiveness of the recall repair it issued for the Stall/Fire Risk

Vehicles.

      203. Ford owed Plaintiff and the California Subclass a duty to disclose the

true safety and reliability of the Stall/Fire Risk Vehicles and the adequacy of the

recall repair because Ford:

             a.     Possessed exclusive knowledge about the Spontaneous
                    Stall/Fire Risk and the nature of its recall repair;

             b.     Omitted the foregoing from Plaintiff and the California
                    Subclass;

             c.     Made misleading and incomplete representations about the
                    safety, quality, functionality, and reliability of the Stall/Fire
                    Risk Vehicles, while withholding material facts from Plaintiff
                    and the California Subclass that contradicted these
                    representations; and/or

             d.     Had duties under the TREAD Act and related regulations to
                    disclose and remedy the Spontaneous Stall/Fire Risk.

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      204. In failing to disclose the Spontaneous Stall/Fire Risk and associated

safety risks and repair costs that result from it, Ford has misrepresented the

Stall/Fire Risk Vehicles, omitted disclosure the Spontaneous Stall/Fire Risk, and

breached its duty to disclose.

      205. The facts omitted and misrepresented by Ford to Plaintiff and

California Subclass members, as described herein, are material in that a reasonable

consumer would have considered them important in deciding whether to purchase

the Stall/Fire Risk Vehicles or to pay a lesser price. Had Plaintiff and California

Subclass members known about the defective nature of the Stall/Fire Risk

Vehicles, they would not have purchased or leased the Stall/Fire Risk Vehicles or

would have paid less for them.

      206. Ford’s violations of the CLRA present continuing risk and harm to

Plaintiff, the California Subclass, and the public. In particular and as alleged

herein, Ford has yet to provide an adequate fix for the engines that leak oil and

vapors. Furthermore, Ford’s “fix” raises additional safety concerns and reduces the

vehicles’ fuel efficiency.

      207. On or about August 15, 2022, and August 7, 2023, Plaintiffs’

undersigned counsel provided Ford written notice of their violations of the CLRA

under California Civil Code § 1782(a) regarding the Stall/Fire Risk Vehicles.




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       208. Plaintiff and California Subclass members’ injuries were proximately

caused by Ford’s deceptive business practices.

       209. Plaintiff and California Subclass members seek all relief available

under the CLRA, including equitable relief, damages, and attorneys’ fees.

                            COUNT V
  VIOLATIONS OF THE CALIFORNIA UNFAIR COMPETITION LAW
                 (Cal. Bus. & Prof. Code § 17200)

       (Alleged by Plaintiff Nishon on behalf of the California Subclass)

       210. Plaintiff Nishon (“Plaintiff” for the purposes of this claim) and the

California Subclass reallege and incorporate by reference all paragraphs as though

fully set forth herein.

       211. Plaintiff brings this claim on behalf of himself and the California

Subclass.

       212. The California Unfair Competition Law (“UCL”) prohibits acts of

“unfair competition,” including any “unlawful, unfair or fraudulent business act or

practice” and “unfair, deceptive, untrue or misleading advertising.” Cal. Bus. &

Prof. Code § 17200.

       213. In the course of its business, Ford engaged in deceptive acts or

practices with the marketing and sale or lease of the Stall/Fire Risk Vehicles

because it misrepresented and omitted material facts concerning the Stall/Fire Risk

Vehicles, specifically the existence of the Spontaneous Stall/Fire Risk, as alleged


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herein. Ford omitted the fact of the Spontaneous Stall/Fire Risk from Plaintiff and

California Subclass members. Ford also mispresented the safety, quality,

functionality, and reliability of the Stall/Fire Risk Vehicles given the existence of

the Spontaneous Stall/Fire Risk in them. Ford also misrepresented the efficacy and

effectiveness of the recall repair of the Stall/Fire Risk Vehicles.

      214. Ford engaged in unfair competition and unfair, unlawful, or fraudulent

business practices through the conduct, statements, and omissions described

herein, and by omitting the Spontaneous Stall/Fire Risk in the Stall/Fire Risk

Vehicles from Plaintiff and California Subclass members, along with omitting the

risks, costs, and monetary damage resulting from the defect. Ford should have

disclosed this information because it was in a superior position to know the true

facts related to the Spontaneous Stall/Fire Risk, and Plaintiff and California

Subclass members could not reasonably be expected to learn or discover the true

facts related to the Spontaneous Stall/Fire Risk.

      215. The Spontaneous Stall/Fire Risk causes blown engines, stalls and

catastrophic fire in the Stall/Fire Risk Vehicles, and this constitutes a safety issue

that triggered Ford’s duty to disclose the safety issue to consumers.

      216. Ford’s acts and practices misled and deceived Plaintiff and are likely

to deceive the public. In failing to disclose the Spontaneous Stall/Fire Risk and

omitting other material facts from Plaintiff and California Subclass members, Ford


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breached its duty to disclose these facts, violated the UCL, and caused injuries to

Plaintiff and California Subclass members. Ford’s omissions and

misrepresentations concerned information that was material to Plaintiff and

California Subclass members, as it would have been to all reasonable consumers.

      217. The injuries suffered by Plaintiff and California Subclass members are

not greatly outweighed by any potential countervailing benefit to consumers or to

competition, nor are they injuries that Plaintiff and California Subclass members

could or should have reasonably avoided.

      218. Ford’s acts and practices are unlawful because they violate California

Civil Code §§ 1668, 1709, 1710, and 1750, et seq., and California Commercial

Code § 2313. Ford knew or should have known its conduct violated the UCL.

      219. Plaintiff and California Subclass members have suffered an injury in

fact, including the loss of money or property, because of Ford’s unfair, unlawful,

and deceptive practices.

      220. Plaintiff seek to enjoin further unlawful, unfair, and fraudulent acts or

practices by Ford, to obtain restitutionary disgorgement of all monies and revenues

generated because of such practices, and all other relief allowed under California

Business & Professions Code § 17200.




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                              COUNT VI
       VIOLATIONS OF CALIFORNIA FALSE ADVERTISING LAW
                (Cal. Bus. & Prof. Code § 17500, et seq.)

       (Alleged by Plaintiff Nishon on behalf of the California Subclass)

       221. Plaintiff Nishon (“Plaintiff” for the purposes of this claim) and the

California Subclass reallege and incorporate by reference all paragraphs as though

fully set forth herein.

       222. Plaintiff brings this claim on behalf of himself and the California

Subclass.

       223. California Business & Professions Code § 17500 states: “It is

unlawful for any … corporation … with intent directly or indirectly to dispose of

real or personal property … to induce the public to enter into any obligation

relating thereto, to make or disseminate or cause to be made or disseminated …

from this state before the public in any state, in any newspaper or other

publication, or any advertising device, … or in any other manner or means

whatever, including over the Internet, any statement … which is untrue or

misleading, and which is known, or which by the exercise of reasonable care

should be known, to be untrue or misleading.”

       224. Ford caused to be made or disseminated through California and the

United States, through advertising, marketing and other publications, statements

that were untrue or misleading, and which were known, or through the exercise of


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reasonable care should have been known to Ford, to be untrue and misleading to

consumers, including Plaintiff and California Subclass members.

      225. Ford violated Section 17500 because its misrepresentations and

omissions regarding the safety, reliability, and functionality of the Stall/Fire Risk

Vehicles as described herein were material, untrue, and misleading, and likely to

deceive a reasonable consumer.

      226. Plaintiff and California Subclass members have suffered an injury in

fact, including the loss of money or property, because of Ford’s deceptive

advertising. In purchasing or leasing their Stall/Fire Risk Vehicles, Plaintiff and

California Subclass members relied on Ford’s misrepresentations and omissions

regarding the safety, reliability, and functionality of the vehicles. Ford’s

representations and omissions were untrue because the Stall/Fire Risk Vehicles

were sold or leased with the Spontaneous Stall/Fire Risk. Had Plaintiff and

California Subclass members known this, they would not have purchased or leased

their Stall/Fire Risk Vehicles or paid as much for them. Accordingly, Plaintiff and

California Subclass members overpaid for their Stall/Fire Risk Vehicles and did

not receive the benefit of their bargain.

      227. All the wrongful conduct alleged herein occurred, and continues to

occur, in the conduct of Ford’s business. Ford’s wrongful conduct is part of a




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pattern or generalized course of conduct that is still perpetuated and repeated, both

in California and nationwide.

       228. Plaintiff, individually and on behalf of the California Subclass

members, request this Court enter such orders or judgments as necessary to enjoin

Ford from continuing its unlawful and deceptive advertising, to restore to Plaintiff

and California Subclass members any money Ford acquired by its deceptive

advertising, including restitution and restitutionary disgorgement, and for such

other relief permitted.

                                 COUNT VII

       VIOLATION OF SONG-BEVERLY CONSUMER WARRANTY
           ACT FOR BREACH OF IMPLIED WARRANTY OF
           MERCHANTABILITY UNDER CALIFORNIA LAW
                  (Cal. Civ. Code §§ 1791.1 & 1792)

       (Alleged by Plaintiff Nishon on behalf of the California Subclass)

       229. Plaintiff Nishon (“Plaintiff” for the purposes of this claim) and the

California Subclass reallege and incorporate by reference all paragraphs as though

fully set forth herein.

       230. Plaintiff brings this claim on behalf of himself and the California

Subclass.

       231. Plaintiff and California Subclass members are “buyers” within the

meaning of Cal. Civ. Code § 1791(b).



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      232. The Stall/Fire Risk Vehicles are “consumer goods” within the

meaning of Cal. Civ. Code § 1791(a).

      233. Ford is the “manufacturer” of the Stall/Fire Risk Vehicles within the

meaning of Cal. Civ. Code § 1791(j).

      234. Ford impliedly warranted to Plaintiff and the California Subclass that

the Stall/Fire Risk Vehicles were “merchantable” within the meaning of Cal. Civ.

Code §§ 1791.1(a) & 1792; however, the Stall/Fire Risk Vehicles do not have the

quality that a buyer would reasonably expect and were therefore not merchantable.

      235. Cal. Civ. Code § 1791.1(a) states:

             “Implied warranty of merchantability” or “implied
             warranty that goods are merchantable” means that the
             consumer goods meet each of the following:

             (1)   Pass without objection in the trade under the
                   contract description.

             (2)   Are fit for the ordinary purposes for which such
                   goods are used.

             (3)   Are adequately contained, packaged, and labeled.

             (4)   Conform to the promises or affirmations of fact
                   made on the container or label.

      236. The Stall/Fire Risk Vehicles were not merchantable when sold or

leased because they pose an unreasonable risk of fires due to the Spontaneous

Stall/Fire Risk as described herein. Without limitation, the Stall/Fire Risk Vehicles

share a common defect in that they all suffer from an issue in the engine


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 compartment that makes the vehicles susceptible to a risk of spontaneous fire,

 causing an unreasonable risk of death, serious bodily harm, and property damage

 to owners and lessees of the Stall/Fire Risk Vehicles, as well as an unreasonable

 risk of damage and harm to their homes or other nearby property, passengers, and

 bystanders. The Spontaneous Stall/Fire Risk rendered the Stall/Fire Risk Vehicles

 unmerchantable and unfit for their ordinary use of driving when they were sold or

 leased, and at all times thereafter.

       237. Ford breached the implied warranty of merchantability by selling

 Stall/Fire Risk Vehicles containing a defect leading to under hood fires during

 ordinary operating conditions. This defect has deprived Plaintiff and California

 Subclass members of the benefit of their bargain.

       238. Plaintiff and the California Subclass have had sufficient direct

 dealings with either Ford or its agents (dealerships) to establish privity of contract

 between them. Nonetheless, privity is not required here because Plaintiff and the

 California Subclass are intended third-party beneficiaries of contracts between

 Ford and its dealers, and specifically, of Ford’s implied warranties. The dealers

 were not intended to be the ultimate consumers of the Stall/Fire Risk Vehicles and

 have no rights under the warranty agreements provided with the Stall/Fire Risk

 Vehicles; the warranty agreements were designed for and intended to benefit

 consumers.


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       239. Notice of breach is not required because Plaintiff and California

 Subclass members did not purchase their automobiles directly from Ford.

 Nonetheless, Plaintiff’s counsel sent notification to Ford on or about August 15,

 2022, and August 7, 2023.

       240. Plaintiff and California Subclass members were and are third-party

 beneficiaries to Ford’s contracts with Ford-certified/authorized retailers who sold

 or leased the Stall/Fire Risk Vehicles to Plaintiff and California Subclass members.

       241. As a direct and proximate result Ford’s breach of the implied warranty

 of merchantability, Plaintiff and California Subclass members received goods

 whose dangerous condition now renders them at least partially inoperable and

 substantially impairs their value. Plaintiff and California Subclass members have

 been damaged as they overpaid for their vehicles, and now suffer the partial or

 complete loss of use of their Stall/Fire Risk Vehicles.

       242. Under Cal. Civ. Code §§ 1791.1(d) & 1794, Plaintiff and California

 Subclass members are entitled to damages and other legal and equitable relief

 including, at their election, the purchase price of their Stall/Fire Risk Vehicles, or

 the overpayment or diminution in value of their Stall/Fire Risk Vehicles.

       243. Under Cal. Civ. Code § 1794, Plaintiff and California Subclass

 members are entitled to costs and attorneys’ fees.




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       2.      Arizona

                                  COUNT VIII

                VIOLATIONS OF THE CONSUMER FRAUD ACT
                      (Ariz. Rev. Stat. § 44-1521, et seq.)

             (Alleged by Plaintiffs James Capps and Joseph Vaillancourt
                          on behalf of the Arizona Subclass)

       244. Plaintiffs and the Arizona Subclass reallege and incorporate by

 reference all paragraphs as though fully set forth herein.

       245. Plaintiffs bring this claim on behalf of themselves and the Arizona

 Subclass.

       246. Ford, Plaintiffs, and the Subclasses are “persons” within the meaning

 of the Arizona Consumer Fraud Act (“Arizona CFA”), Ariz. Rev. Stat. § 44-

 1521(6).

       247. The Stall/Fire Risk Vehicles are “merchandise” within the meaning of

 Ariz. Rev. Stat. § 44-1521(5).

       248. Ford’s actions, as set forth above, occurred in the conduct of trade or

 commerce.

       249. The Arizona CFA provides that “[t]he act, use or employment by any

 person of any deception, deceptive act or practice, fraud, … misrepresentation, or

 concealment, suppression or omission of any material fact with intent that others

 rely upon such concealment, suppression or omission, in connection with the sale

 … of any merchandise whether or not any person has in fact been misled, deceived
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 or damaged thereby, is declared to be an unlawful practice.” Ariz. Rev. Stat. § 44-

 1522(A).

       250. Ford’s actions, as set forth above, occurred in the conduct of trade or

 commerce.

       251. In the course of its business, Ford concealed the Spontaneous

 Stall/Fire Risk in the Stall/Fire Risk Vehicles as described herein and otherwise

 engaged in activities with a tendency or capacity to deceive. Ford also engaged in

 unlawful trade practices by employing deception, deceptive acts or practices, fraud,

 misrepresentations, or concealment, suppression or omission of a material fact with

 intent that others rely upon such concealment, suppression or omission, in

 connection with the sale of the Stall/Fire Risk Vehicles.

       252. By failing to disclose and by actively concealing the Spontaneous

 Stall/Fire Risk in the Stall/Fire Risk Vehicles, which it marketed as safe, reliable,

 of high quality, and fit for use, Ford engaged in unfair and deceptive business

 practices in violation of the Arizona CFA.

       253. In the course of Ford’s business, it willfully failed to disclose and

 actively concealed the dangerous risk posed by the defects in the Stall/Fire Risk

 Vehicles.




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        254. Ford’s unfair or deceptive acts or practices were likely to and did in

 fact deceive reasonable consumers, including Plaintiffs and Subclasses members,

 about the true safety and reliability of their vehicles.

        255. Ford intentionally and knowingly misrepresented material facts

 regarding the Stall/Fire Risk Vehicles with the intent to mislead Plaintiffs and the

 Subclasses.

        256. Ford knew or should have known that its conduct violated the Arizona

 CFA.

        257. As alleged above, Ford made material statements about the safety and

 reliability of the Stall/Fire Risk Vehicles.

        258. Ford owed Plaintiffs and the Subclasses a duty to disclose the true

 safety and reliability of the Stall/Fire Risk Vehicles because Ford:

               a.    Possessed exclusive knowledge about the Spontaneous
                     Stall/Fire Risk;

               b.    Intentionally concealed the foregoing from Plaintiffs and
                     the Subclasses;

               c.    Made incomplete representations about the safety and
                     reliability of the Stall/Fire Risk Vehicles, while
                     purposefully withholding material facts from Plaintiffs
                     and the Subclasses that contradicted these
                     representations; and/or

               d.    Had duties under the TREAD Act and related regulations
                     to disclose and remedy the defects.




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       259. Because Ford fraudulently concealed the Spontaneous Stall/Fire Risk,

 as well as the true nature of the Stall/Fire Risk Vehicles, Plaintiffs were deprived

 of the benefit of their bargain since the vehicles they purchased were worth less

 than they would have been if they were free from defects. Had Plaintiffs been

 aware of the defects in their vehicles, they would have either not have bought or

 leased their vehicles or would have paid less for them.

       260. Ford’s concealment of the defects in the Stall/Fire Risk Vehicles was

 material to Plaintiffs and the Subclasses.

       261. Plaintiffs and the Subclasses suffered ascertainable loss caused by

 Ford’s misrepresentations and its concealment of and failure to disclose the

 Spontaneous Stall/Fire Risk. Plaintiffs and Subclasses members either would have

 paid less for their vehicles or would not have purchased or leased them at all.

       262. Ford’s violations present a continuing risk to Plaintiffs and the

 Subclasses as well as to the general public. In particular and as alleged herein, Ford

 has yet to offer any bona fide fix for the Stall/Fire Risk Vehicles. Ford’s unlawful

 acts and practices complained of herein affect the public interest.

       263. As a direct and proximate result of Ford’s violations of the Arizona

 CFA, Plaintiffs and the Subclasses have suffered injury-in-fact and/or actual

 damage as alleged above.




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       264. Plaintiffs seek monetary relief against Ford in an amount to be

 determined at trial. Plaintiffs also seek punitive damages because Ford engaged in

 aggravated and outrageous conduct with an evil mind.

       265. Plaintiffs also seek an order enjoining Ford’s unfair, unlawful, and/or

 deceptive practices, declaratory relief, attorneys’ fees, and any other just and

 proper relief available under the Arizona CFA.

                                     COUNT IX

                   BREACH OF IMPLIED WARRANTY OF
                 MERCHANTABILITY UNDER ARIZONA LAW
                        (Ariz. Rev. Stat. § 47-2314)

             (Alleged by Plaintiffs James Capps and Joseph Vaillancourt
                          on behalf of the Arizona Subclass)

       266. Plaintiffs and the Arizona Subclass reallege and incorporate by

 reference all paragraphs as though fully set forth herein.

       267. Plaintiffs bring this claim on behalf of themselves and the Arizona

 Subclass.

       268. Ford is and was at all relevant times a merchant with respect to motor

 vehicles under Ariz. Rev. Stat. § 47-2014.

       269. Under Arizona law, an implied warranty of merchantability attaches

 to the Stall/Fire Risk Vehicles. Ariz. Rev. Stat. § 47-2314.




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       270. The Stall/Fire Risk Vehicles were not merchantable when sold or

 leased because their engines are prone to blow up, and pose an unreasonable risk of

 stall and fire due to the Spontaneous Stall/Fire Risk as described herein.

       271. Without limitation, the Stall/Fire Risk Vehicles share a common

 defect in that they are all equipped with an engine that can prematurely blow up

 causing spontaneous stall and engine fire, which creates a risk of death, serious

 bodily harm and/or property damage to lessees and owners of the Stall/Fire Risk

 Vehicles as well as their passengers and bystanders. Without limitation, the

 Stall/Fire Risk Vehicles share a common defect in that they are all equipped with

 an engine that can prematurely blow up and cause internal components to breach

 the engine block or oil pan, which also makes the vehicles susceptible to a risk of

 spontaneous combustion, causing an unreasonable risk of death, serious bodily

 harm and/or property damage to lessees and owners of the Stall/Fire Risk Vehicles

 as well as their homes, passengers and bystanders. These defects render the

 Stall/Fire Risk Vehicles when sold/leased and at all times thereafter,

 unmerchantable and unfit for their ordinary use of driving.

       272. Plaintiffs and Subclasses members were and are third-party

 beneficiaries of Ford’s contracts with Ford-certified/authorized retailers who sold

 or leased the Stall/Fire Risk Vehicles to Plaintiffs and Arizona Subclasses

 members.


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       273. As a direct and proximate result of Ford’s breach of the implied

 warranty of merchantability, Plaintiffs and Arizona Subclasses members have been

 damaged in an amount to be determined at trial.

       3.    Nebraska

                                    COUNT X

    VIOLATION OF THE NEBRASKA CONSUMER PROTECTION ACT
                  (Neb. Rev. Stat. § 59-1601 et seq.)

                     (Alleged by Plaintiff Raymond Dynne III
                       on behalf of the Nebraska Subclass)

       274. Plaintiff Raymond Dynne (“Plaintiff” for purposes of all Nebraska

 Class Counts) incorporates by reference all paragraphs as though fully set forth

 herein.

       275. This claim is brought by Plaintiff on behalf of the Nebraska Subclass.

       276. The Nebraska Consumer Protection Act (“Nebraska CPA”) prohibits

 “unfair or deceptive acts or practices in the conduct of any trade or commerce.”

 NEB. REV. STAT. § 59-1602.

       277. Ford, Plaintiff, and Nebraska Subclass members are “person[s]” under

 NEB. REV. STAT. § 59-1601(1).

       278. Ford’s actions as set forth herein occurred in the conduct of trade or

 commerce as defined under NEB. REV. STAT. § 59-1601(2).

       279. In the course of its business, Ford willfully failed to disclose and

 actively concealed the Spontaneous Stall/Fire Risk, and otherwise engaged in
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 activities with a tendency or capacity to deceive. Ford also engaged in unlawful

 trade practices by employing deception, deceptive acts or practices, fraud,

 misrepresentations, or concealment, suppression, or omission of any material fact

 with intent that others rely upon such concealment, suppression, or omission, in

 connection with the sale of the Stall/Fire Risk Vehicles.

       280. Ford was aware that it was manufacturing, selling, and distributing

 vehicles throughout the United States that did not perform as advertised and

 jeopardized the safety of the vehicle’s occupants, surrounding vehicles and

 property, and bystanders. Ford concealed this information as well.

       281. By marketing its vehicles as safe, reliable, and of high quality, Ford

 engaged in deceptive business practices in violation of the Nebraska CPA.

       282. In the course of Ford’s business, it willfully failed to disclose and

 actively concealed the dangerous risk posed by the Spontaneous Stall/Fire Risk.

 Ford compounded the deception by repeatedly asserting that the Stall/Fire Risk

 Vehicles were safe, reliable, and of high quality.

       283. Ford’s unfair or deceptive acts or practices were likely to and did in

 fact deceive reasonable consumers, including Plaintiffs, about the true safety,

 performance and value of the Stall/Fire Risk Vehicles.

       284. Ford intentionally and knowingly misrepresented material facts

 regarding the Stall/Fire Risk Vehicles with an intent to mislead Plaintiffs.


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       285. Ford knew or should have known that its conduct violated the

 Nebraska CPA.

       286. As alleged above, Ford made material statements about the safety and

 utility of the Stall/Fire Risk Vehicles that were either false or misleading.

       287. Ford owed Plaintiffs a duty to disclose the true safety, performance,

 and reliability of the Stall/Fire Risk Vehicles because Ford:

              a.     Possessed exclusive knowledge about the defects in the
                     Stall/Fire Risk Vehicles;

              b.     Intentionally concealed the foregoing from Plaintiffs;

              c.     Made incomplete representations about the safety and
                     reliability of the Stall/Fire Risk Vehicles, while
                     purposefully withholding material facts from Plaintiffs
                     that contradicted these representations; and/or

              d.     Made incomplete representations about the efficacy of
                     the July 2022 Recall, while purposefully withholding
                     material facts from Plaintiffs that contradicted these
                     representations; and/or

              e.     Had duties under the TREAD Act and related regulations
                     to disclose and remedy the defects well prior to the issue
                     of its confounding recall notice in 2022.

       288. Ford fraudulently concealed the Spontaneous Stall/Fire Risk and the

 true performance of the Stall/Fire Risk Vehicles.

       289. The true performance and safety of the Stall/Fire Risk Vehicles were

 material to Plaintiffs.




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       290. Plaintiffs suffered ascertainable loss caused by Ford’s

 misrepresentations and its concealment of and failure to disclose material

 information. Plaintiffs who purchased the Stall/Fire Risk Vehicles either would

 have paid less for their vehicles or would not have purchased or leased them at all

 but for Ford’s violations of the Nebraska CPA.

       291. Ford had an ongoing duty to all Ford customers to refrain from unfair

 and deceptive practices under the Nebraska CPA. All owners of the Stall/Fire Risk

 Vehicles suffered ascertainable loss in the form of the diminished value of their

 vehicles as a result of Ford’s deceptive and unfair acts and practices made in the

 course of Ford’s business.

       292. Ford’s violations present a continuing risk to Plaintiffs as well as to

 the general public. Ford’s unlawful acts and practices complained of herein affect

 the public interest.

       293. As a direct and proximate result of Ford’s violations of the Nebraska

 CPA, Plaintiffs have suffered injury-in-fact and/or actual damage.

       294. Because Ford’s conduct caused injury to Nebraska Plaintiff’s property

 through violations of the Nebraska CPA, Nebraska Plaintiff seeks recovery of

 actual damages as well as enhanced damages up to $1,000, an order enjoining

 Ford’s unfair or deceptive acts and practices, costs of Court, reasonable attorneys’




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 fees, and any other just and proper relief available under NEB. REV. STAT. § 59-

 1609.

         295. Plaintiffs also seek punitive damages because Ford engaged in

 aggravated and outrageous conduct.

         4.    Missouri

                                      COUNT XI

     VIOLATION OF MISSOURI MERCHANDISING PRACTICES ACT
                  (Mo. Rev. Stat. § 407.010, et seq.)

          (Alleged by Plaintiff Hilburg on behalf of the Missouri Subclass)

         296. Plaintiff and the Missouri Subclass reallege and incorporate by

 reference all paragraphs as though fully set forth herein.

         297. Plaintiff brings this action on behalf of himself and the Missouri

 Subclass (“Plaintiffs,” for the purposes of this claim).

         298. Plaintiffs are “persons” within the meaning of Mo. Rev. Stat.

 § 407.010(5).

         299. The Missouri Merchandising Practices Act (“Missouri MPA”) makes

 unlawful the “act, use or employment by any person of any deception, fraud, false

 pretense, misrepresentation, unfair practice, or the concealment, suppression, or

 omission of any material fact in connection with the sale or advertisement of any

 merchandise.” Mo. Rev. Stat. § 407.020.




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       300. In the course of its business, Ford willfully failed to disclose and

 actively concealed the Spontaneous Stall/Fire Risk, and otherwise engaged in

 activities with a tendency or capacity to deceive. Ford also engaged in unlawful

 trade practices by employing deception, deceptive acts or practices, fraud,

 misrepresentations, or concealment, suppression, or omission of any material fact

 with intent that others rely upon such concealment, suppression, or omission, in

 connection with the sale of the Stall/Fire Risk Vehicles.

       301. Ford was aware that it was manufacturing, selling, and distributing

 vehicles throughout the United States that did not perform as advertised and

 jeopardized the safety of the vehicle’s occupants, surrounding vehicles and

 property, and bystanders. Ford concealed this information as well.

       302. By marketing its vehicles as safe, reliable, and of high quality, Ford

 engaged in deceptive business practices in violation of the Missouri MPA.

       303. In the course of Ford’s business, it willfully failed to disclose and

 actively concealed the dangerous risk posed by the Spontaneous Stall/Fire Risk.

 Ford compounded the deception by repeatedly asserting that the Stall/Fire Risk

 Vehicles were safe, reliable, and of high quality.

       304. Ford’s unfair or deceptive acts or practices were likely to and did in

 fact deceive reasonable consumers, including Plaintiffs, about the true safety,

 performance and value of the Stall/Fire Risk Vehicles.


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       305. Ford intentionally and knowingly misrepresented material facts

 regarding the Stall/Fire Risk Vehicles with an intent to mislead Plaintiffs.

       306. Ford knew or should have known that its conduct violated the

 Missouri MPA.

       307. As alleged above, Ford made material statements about the safety and

 utility of the Stall/Fire Risk Vehicles that were either false or misleading.

       308. Ford owed Plaintiffs a duty to disclose the true safety, performance,

 and reliability of the Stall/Fire Risk Vehicles because Ford:

              a.     Possessed exclusive knowledge about the defects in the
                     Stall/Fire Risk Vehicles;

              b.     Intentionally concealed the foregoing from Plaintiffs;

              c.     Made incomplete representations about the safety and
                     reliability of the Stall/Fire Risk Vehicles, while
                     purposefully withholding material facts from Plaintiffs
                     that contradicted these representations; and/or

              d.     Made incomplete representations about the efficacy of
                     the July 2022 Recall, while purposefully withholding
                     material facts from Plaintiffs that contradicted these
                     representations; and/or

              e.     Had duties under the TREAD Act and related regulations
                     to disclose and remedy the defects well prior to the issue
                     of its confounding recall notice in 2022.

       309. Ford fraudulently concealed the Spontaneous Stall/Fire Risk and the

 true performance of the Stall/Fire Risk Vehicles.




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       310. The true performance and safety of the Stall/Fire Risk Vehicles were

 material to Plaintiffs.

       311. Plaintiffs suffered ascertainable loss caused by Ford’s

 misrepresentations and its concealment of and failure to disclose material

 information. Plaintiffs who purchased the Stall/Fire Risk Vehicles either would

 have paid less for their vehicles or would not have purchased or leased them at all

 but for Ford’s violations of the Missouri MPA.

       312. Ford had an ongoing duty to all Ford customers to refrain from unfair

 and deceptive practices under the Missouri MPA. All owners of the Stall/Fire Risk

 Vehicles suffered ascertainable loss in the form of the diminished value of their

 vehicles as a result of Ford’s deceptive and unfair acts and practices made in the

 course of Ford’s business.

       313. Ford’s violations present a continuing risk to Plaintiffs as well as to

 the general public. Ford’s unlawful acts and practices complained of herein affect

 the public interest.

       314. As a direct and proximate result of Ford’s violations of the Missouri

 MPA, Plaintiffs have suffered injury-in-fact and/or actual damage.

       315. Ford is liable to Plaintiffs for damages in amounts to be proven at

 trial, including attorneys’ fees, costs, and punitive damages, as well as injunctive




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 relief enjoining Ford’s unfair and deceptive practices, and any other just and proper

 relief under Mo. Rev. Stat. § 407.025.

       5.     Wisconsin

                                  COUNT XII

                      VIOLATIONS OF THE WISCONSIN
                     DECEPTIVE TRADE PRACTICES ACT
                            (Wis. Stat. § 110.18)

       (Alleged by Plaintiff Simmons on behalf of the Wisconsin Subclass)

       316. Plaintiff and the Wisconsin Subclass reallege and incorporate by

 reference all paragraphs as though fully set forth herein.

       317. Plaintiff brings this action on behalf of himself and the Wisconsin

 Subclass (“Subclass,” for the purposes of this claim).

       318. Ford is a “person, firm, corporation or association” within the

 meaning of Wis. Stat. § 100.18(1).

       319. Plaintiff is a member of “the public” within the meaning of Wis. Stat.

 § 100.18(1). Plaintiff purchased or leased one or more of the Stall/Fire Risk

 Vehicles.

       320. The Wisconsin Deceptive Trade Practices Act (“Wisconsin DTPA”)

 prohibits a “representation or statement of fact which is untrue, deceptive or

 misleading.” Wis. Stat. § 100.18(1). Ford participated in misleading, false, or

 deceptive acts that violated the Wisconsin DTPA. By systematically concealing the

 defects in the Stall/Fire Risk Vehicles, and concealing the true nature of the July
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 2022 Recall “fix,” Ford engaged in deceptive business practices prohibited by the

 Wisconsin DTPA, including: (1) representing that the Stall/Fire Risk Vehicles have

 characteristics, uses, and benefits which they do not have; (2) representing that the

 Stall/Fire Risk Vehicles are of a particular standard, quality, and grade when they

 are not; (3) advertising the Stall/Fire Risk Vehicles with the intent not to sell them

 as advertised; (4) engaging in acts or practices which are otherwise misleading,

 false, or deceptive to the consumer; and (5) engaging in any unconscionable

 method, act or practice in the conduct of trade or commerce.

       321. Ford’s actions, as set forth above, occurred in the conduct of trade or

 commerce.

       322. In the course of its business, Ford concealed the Spontaneous

 Stall/Fire Risk in the Stall/Fire Risk Vehicles as described herein and otherwise

 engaged in activities with a tendency or capacity to deceive. Ford also engaged in

 unlawful trade practices by employing deception, deceptive acts or practices, fraud,

 misrepresentations, or concealment, suppression or omission of a material fact with

 intent that others rely upon such concealment, suppression or omission, in

 connection with the sale of the Stall/Fire Risk Vehicles.

       323. By failing to disclose and by actively concealing the Spontaneous

 Stall/Fire Risk in the Stall/Fire Risk Vehicles, which it marketed as safe, reliable,




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 of high quality, and fit for use as hybrid electric vehicles, Ford engaged in unfair

 and deceptive business practices in violation of the Wisconsin DTPA.

       324. In the course of Ford’s business, it willfully failed to disclose and

 actively concealed the dangerous risk posed by the defects in the Stall/Fire Risk

 Vehicles.

       325. Ford’s unfair or deceptive acts or practices were likely to and did in

 fact deceive reasonable consumers, including Plaintiff and Subclass members,

 about the true safety and reliability of their vehicles.

       326. Ford intentionally and knowingly misrepresented material facts

 regarding the Stall/Fire Risk Vehicles with the intent to mislead Plaintiff and the

 Subclass.

       327. Ford knew or should have known that its conduct violated the

 Wisconsin DTPA.

       328. As alleged above, Ford made material statements about the safety and

 reliability of the Stall/Fire Risk Vehicles when operating as hybrid electric vehicles

 that were either false or misleading.

       329. Ford owed Plaintiff and the Subclass a duty to disclose the true safety

 and reliability of the Stall/Fire Risk Vehicles because Ford:

              a.     Possessed exclusive knowledge about the Spontaneous
                     Stall/Fire Risk;



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              b.     Intentionally concealed the foregoing from Plaintiff and the
                     Subclass;

              c.     Made incomplete representations about the safety and reliability
                     of the Stall/Fire Risk Vehicles, while purposefully withholding
                     material facts from Plaintiff and the Subclass that contradicted
                     these representations;

              d.     Knew that the July 2022 Recall fix would do nothing to address
                     the engine manufacturing defect that was causing blown
                     engines and the Stall/Fire Risk; and/or

              e.     Had duties under the TREAD Act and related regulations to
                     disclose and remedy the defect.

       330. Because Ford fraudulently concealed the Spontaneous Stall/Fire Risk,

 as well as the true nature of the Stall/Fire Risk Vehicles, Plaintiffs were deprived

 of the benefit of their bargain since the vehicles they purchased were worth less

 than they would have been if they were free from defects. Had Plaintiffs been

 aware of the defects in their vehicles, they would have either not have bought or

 leased their Stall/Fire Risk Vehicles or would have paid less for them.

       331. Ford’s concealment of the defects in the Stall/Fire Risk Vehicles was

 material to Plaintiff and the Subclass.

       332. Plaintiff and the Subclass suffered ascertainable loss caused by Ford’s

 misrepresentations and its concealment of and failure to disclose Spontaneous

 Stall/Fire Risk. Plaintiff and Subclass members either would have paid less for

 their vehicles or would not have purchased or leased them at all.




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       333. Ford’s violations present a continuing risk to Plaintiff and the

 Subclass as well as to the general public. In particular and as alleged herein, Ford

 has yet to offer any fix for the Stall/Fire Risk Vehicles. Ford’s unlawful acts and

 practices complained of herein affect the public interest.

       334. As a direct and proximate result of Ford’s violations of the Wisconsin

 DTPA, Plaintiff and the Subclass have suffered injury-in-fact and/or actual damage

 as alleged above.

       335. Plaintiff is entitled to damages and other relief provided for under

 Wis. Stat. § 100.18(11)(b)(2). Because Ford’s conduct was committed knowingly

 and/or intentionally, Plaintiff is entitled to treble damages.

       336. Plaintiff and the Subclass also seek an order enjoining Ford’s unfair,

 unlawful, and/or deceptive practices, attorneys’ fees, and any other just and proper

 relief available under the Wisconsin DTPA.

       337. Plaintiff and the Subclass also seek punitive damages against Ford

 because Ford’s conduct evidences an extreme deviation from reasonable standards.

 Ford flagrantly, maliciously, and fraudulently misrepresented the safety and

 reliability of the Stall/Fire Risk Vehicles, misrepresented the efficacy of the July

 2022 Recall, deceived Plaintiff and the Subclass on life-or-death matters,

 concealed material facts that only it knew, and repeatedly promised Plaintiff and




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 the Subclass that the Stall/Fire Risk Vehicles were safe. Ford’s unlawful conduct

 constitutes malice, oppression, and fraud warranting punitive damages.

                                  COUNT XIII

                 BREACH OF IMPLIED WARRANTY OF
              MERCHANTABILITY UNDER WISCONSIN LAW
                    (Wis. Stat. § 402.314 and 411.212)

       (Alleged by Plaintiff Simmons on behalf of the Wisconsin Subclass)

       338. Plaintiff and the Wisconsin Subclass reallege and incorporate by

 reference all paragraphs as though fully set forth herein.

       339. Plaintiff brings this action on behalf of himself and the Wisconsin

 Subclass.

       340. Under Wisconsin law, an implied warranty of merchantability

 attaches to the Stall/Fire Risk Vehicles.

       341. The Stall/Fire Risk Vehicles were not merchantable when sold or

 leased because their engines are prone to blowing and ejecting internal

 components, flammable liquids and flammable vapors into the engine

 compartment where they can ignite, and pose an unreasonable risk of spontaneous

 stall and fire due to the Spontaneous Stall/Fire Risk as described herein. Without

 limitation, the Stall/Fire Risk Vehicles share a common defect in that they are all

 equipped with engines that were manufacturing with defects that make the vehicles

 susceptible to a risk of spontaneous stall and combustion, causing an unreasonable


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 risk of death, serious bodily harm and/or property damage to lessees and owners of

 the Stall/Fire Risk Vehicles as well as their homes, passengers and bystanders.

 This defect renders the Stall/Fire Risk Vehicles when sold/leased and at all times

 thereafter, unmerchantable and unfit for their ordinary use of driving.

       342. Plaintiff and the other Wisconsin Subclass members were and are

 third-party beneficiaries to Ford’s contracts with Ford-certified/authorized retailers

 who sold or leased the Stall/Fire Risk Vehicles to Plaintiff and Wisconsin Subclass

 members.

       343. As a direct and proximate result of Ford’s breach of the implied

 warranty of merchantability, Plaintiff and the other Wisconsin Subclass members

 have been damaged in an amount to be determined at trial.

                             REQUEST FOR RELIEF

       WHEREFORE, Plaintiffs, individually and on behalf of members of the

 Nationwide Class and State-specific Subclasses, respectfully request that the Court

 enter judgment in their favor and against Ford, as follows:

       A.     Certification of the proposed Nationwide Class and State-specific

 Subclasses, including appointment of Plaintiffs’ counsel as Class Counsel;

       B.     Restitution, including at the election of Nationwide Class and State-

 specific Subclass members, recovery of the purchase price of their Stall/Fire Risk

 Vehicles, or the overpayment for their vehicles;


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          C.    Damages, costs, and disgorgement in an amount to be determined at

 trial;

          D.    An order requiring Ford to pay both pre- and post-judgment interest

 on any amounts awarded;

          E.    An award of costs and attorneys’ fees;

          F.    An order enjoining Ford’s deceptive acts or practices; and

          G.    Such other or further relief as may be appropriate.

                             DEMAND FOR JURY TRIAL

          Plaintiffs hereby demand a jury trial for all claims so triable.

 DATED: August 8, 2023                      Respectfully Submitted,

                                            /s/ Steve W. Berman
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